Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.118 Filed 01/17/25 Page 1 of 140

INDEX OF EXHIBITS
TO COMPLAINT FILED IN STATE COURT

Affidavit Affidavit of Nathir Hermez.

Exhibit 1 Michigan Department of Regulatory and Licensing Affairs (LARA)
records regarding Richmond Mail, LLC.

Exhibit2 LARA Annual Statements Richmond Main, LLC.

Exhibit3 Operating and Easement Agreement between Dayton Hudson
Corporation and Frenchtown Square Partnership.

Exhibit 4 Covenant Deed between Target Corporation and Richmond Main,
LLC.

Exhibit 5 —_ Bill of Sale between Target Corporation and Richmond Main, LLC.
Exhibit6 Assignment and Assumption of Operation and Easement Agreement
between Target Corporation and Richmond Main, LLC.

Exhibit 7 Ohio Court’s Judgment Entry denying Richmond Main LLC’s Motion
to Dismiss.

Exhibit 8 Settlement Agreement.

Exhibit9 Ohio Court’s Notice of Dismissal Without Prejudice.

Exhibit 10 The Monroe News article on Target’s closure.

Exhibit 11 Michigan Court search result.

Exhibit 12 Trumbull County, Ohio Court search result.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.119 Filed 01/17/25 Page 2 of 140

Affidavit
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.120 Filed 01/17/25 Page 3 of 140

STATE OF MICHIGAN
MONROE COUNTY CIRCUIT COURT

RICHMOND MAIN, LLC,
a Michigan Domestic Limited Liability Company

Plaintiff,
Case No. 24- -CB
Vv. Hon.

FRENCHTOWN SQUARE PARTNERSHIP,
an Ohio General Partnership registered with the
Ohio Secretary of State,

Defendant
/

PHILLIP A. GREENBLATT, PLLC
Phillip A. Greenblatt (P54170)
Attorney for Plaintiff
P.O. Box 4270
Southfield, MI 48037
(248) 227-7350
phil@phillipazreenblattplic.com

/

ARTIDAVEL
STATE OF MICHIGAN )
COUNTY OF MACOMB =*.
Nathir Hermez, being first duly sworn, deposes and states as follows:
1. Affiant states that, if sworn as a witness, Affiant can testify competently to the facts
stated herein in this Affidavit and attests that the statements are true and accurate to the best of
my information, knowledge, and belief.

2. That I am the officer and member of the captioned Plaintiff entity identified in the

Plaintiff's Complaint.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.121 Filed 01/17/25 Page 4 of 140

3. That AMant’s statements in this Affidavit are based upon A{fiant’s personal
knowledge of the facts and matters set forth herein and with respect fo the allegations set forth in

the Plaintiff's Complaint and Exhibits attached thereto as accurate and truthful,

FURTHER, AFFIANT sayeth not. 7

ee

By: - GP <

Nathir Hermez

Subscribed and sworn to before me

Thin 4 day of _ JULY , 2024.
Ae
T Pourne (dete Notary Public

Macomb County, Michigan
Acting in Mater>County, MI
My commission expires: ep (OF / 2078

PAULINE KALLO
NOTARY PUSLIC - STATE OF MICHIGAN
COUNTY OF MACOMB ;
My Commission Expires April 98, 202
Acting in the County of Malay

“TA
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.122 Filed 01/17/25 Page 5 of 140

Exhibit 1
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.123 Filed 01/17/25 Page 6 of 140
Filed by Corporations Division Administrator Filing Number: 201905709540 Date: 11/22/2019

Form Revision Date 02/2017

ARTICLES OF ORGANIZATION

For use by DOMESTIC LIMITED LIABELITY COMPANY
Pursuant to the provisions of Act 23, Public Acts of 1993, the undersigned executes the following Articles:

Article I
The name of the limited ilabllity company ts:

RICHMOND MAIN, LLC

Article IT

Unless the articles of organization otherwise provide, ail fimited llablity companies formed pursuant to 1993 PA 23 have the purpose of
engaging In any activity within the purposes for which a limited liability company may be formed under the Limited Liability Company Act of
Michigan. You may provide a more specific purpose:

Article 11%

The duration of the limited lability company if other than perpetual Is:
PERPETUAL

Article IV

The street address of the registered office of the Ilmited liability company and the name of the resident agent at the registered office
(P.Q. Boxes are not acceptable);

1. Agent Name: NATHIR HERMEZ
2. Street Address: 56684 HARTLEY DR. WEST
Apt/Sulte/Other:
City: SHELBY FWP.
State: MI Zip Code: 48316

3. Registered Office Mailing Address:
P.O. Box or Street

Address: 56684 HARTLEY DR. WEST
Apt/Suite/Other:
City: SHELBY TWP.

State: My Zip Code: 48316

Signed this 22nd Day of November, 2019 by the organizer(s):

Nathir Hermez . Organizer

By selecting ACCEPT, I hereby acknowledge that this electronic document ts being signed In accordance with the Act. I further certify
that to the best of my knowledge the information provided is true, accurate, and In compliance with the Act.

| Decline } Accept
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.124 Filed 01/17/25 Page 7 of 140
Filed by Corporations Division Administrator Filing Number: 201905709540 Date: 11/22/2019

MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS

FILING ENDORSEMENT

This is to Certify that the ARTICLES OF ORGAN IZATION

for

RICHMOND MAIN, LLC

ID Number: 802387837

received by electronic transmission on November 22, 2019 , is hereby endorsed.
Filed on November 22, 2019, by the Administrator.

The document is effective on the date filed, unless a subsequent effective date within 90 days after
received date is stated in the document.

in testimony whereof, | have hereunto set my
hand and affixed the Seal of the Department,
in the City of Lansing, this 22nd day

of November, 2079.

fen me —

Julia Dale, Director
Corporations, Securities & Commercial Licensing Bureau

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.125 Filed 01/17/25 Page 8 of 140

Shea ie Hows ful yO

LARA Howe: Gantt LARA Cinta

ID Number: 802387837 Request certificate Return to Results New search

Summary for: RICHMOND MAIN, LLC

The name of the BOMESTIC LIMITED LIABILITY COMPANY: RICHMOND MAIN, LLC

Entity type: DOMESTIC LIMITED LIABILITY COMPANY

Identification Number: 802387837

| Date of Organization in Michigan: 11/22/2019 |

| Purpose: All Purpose Clause |

| Term: Perpetual |

The name and address of the Resident Agent:

Resident Agent Name: NATHIR HERMEZ

Street Address: 56684 HARTLEY DR. WEST

Apt/Suite/Other:

City: SHELBY TWP, State: MI Zip Code: 48316

Registered Office Mailing address:
P.O. Box or Street Address: 56684 HARTLEY DR. WEST

Apt/Sulte/Other:
City: SHELBY TWP. State: MI Zip Code: 48316

Act Formed Under: 023-1993 Michigan Limited ilabllity Company Act
Acts Subject To: 023-1993 Michigan Limited Liability Company Act

Managed By:

(Members,

View filings for this business entity:

r (pe nes enn tt te matin

ALL FILINGS

ANNUAL REPORT/ANNUAL STATEMENTS
CERTIFICATE OF CORRECTION
CERTIFICATE OF CHANGE OF REGISTERED OFFICE AND/OR RESIDENT AGENT
: RESIGNATION OF RESIDENT AGENT

View filings

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.126 Filed 01/17/25 Page 9 of 140

Comments or notes associated with this business entity:

i
|
i
|

LARA FOIA Process Transparency State Web Sites

Michigan.gov Home ADA Michigan News Policies

Gopyright 2024 State of Michigan

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.127 Filed 01/17/25 Page 10 of 140

Exhibit 2
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.128 Filed 01/17/25 Page 11 of 140

ee eee 6s )6+ 6 CDEPARTMENT-OF-LICENSING-AND-REGULATORY-AFFAIRS 45-08———
CSCUCD-2700 (10/23) LIMITED LIABILITY COMPANY ANNUAL STATEMENT
2024 IAC A
Due February 15, 2024 File Online at www.michigan.gov/corpfileontine
Identification Number Limited Liability Campany Nama
802387837 RICHMOND MAIN, LLC
4 Resident agent name and mailing address of the registered office Change resident agont and/or mailing address of
ragisterad office In MICHIGAN (can be a P.O Box).

NATHIR HERMEZ

56684 HARTLEY DR. WEST RECEIVED eILED

SHELBY TWP., MI 46316 JA

N 08 2024 FEB 07 2024
LARA $25 00
CORPORATIONS DIVISION
2 The address of the registered office Change address of registered office in MICHIGAN
56684 HARTLEY DR, WEST (MICHIGAN address: number, street, city, state, zip, cannot
SHELBY TWP., Ml 48316 hea P.O. Box)
1

3, Signature of authori ember, manager or agent. [| Tile Date Phone (Optional)
x ous ev jz.-29-2023

— . . .
Annual-Statement Must Be Signed (Item 3 above)
Domestic: Signature of a manager if management is vested in managers, by at least 1 member if management remains in
the members, or by an authorized agent of the domestic limited lability company.
Foreign: Signature of a person with authority to do so under the laws of the foreign limited hability company's jurisdiction of
organization

Filing Fee: $25.00

Annual Statement must be received by agency on or before February 15, 2024.

Veterans: Pursuant to MCL 450.5101(9)(10), if a majority of the membership interests in the limited hability company
rasponsible for paying the fee are held by 1 or more veterans who served in the United States Armed Forces, (including the
reserve components) who were discharged or released under conditions other than dishonorable, you may obtain further

information regarding a fee waiver at www.michigan.gov/corpveteranfeewaivers

Online: www.michigan.gov/corpfileontine
Save time by filing online You will get an immediate response and you can elect to receive future notices by ematt to the

resident agent. The agent will also be sent an email when a document 1s filed, or the CID/PIN 1s requested You will need
your Customer ID number (CID) and PIN, whtch can be obtained using the CID/PIN Recovery Page at

www.inichigan.gov/corppin

Mail: Return completed statement with a check or money order payable to the State of Michigan to:
Corporations Division, P O Box 30768, Lansing, Ml 48909. (517) 241-6470

Required by sectton 207, 1993 PA 23, as amended BATBTOCLLC_NOV
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.129 Filed 01/17/25 Page 12 of 140
Filed by Corporations Division Administrator Filing Number: 223621762700 Date: 01/06/2023

Form Revision Date 07/2016

ANNUAL STATEMENT

For use by DOMESTIC LIMITED LIABILITY COMPANY
(Required by Section 207, Act 23, Public Act of 1993)

Identification Number: 802387837

Annuat Statement Filing Year: 2023

4. Limited Llabllity Company Name:

RICHMOND MAT, £00

2, The street address of the Iimited !lability company’s registered office and name of the resident agent at that office:

1. Resident Agent Name: NATHIR HERMEZ
2, Street Address: 56684 HARTLEY DR. WEST
Apt/Sulte/Other:
City: SHELBY TWP.
State: MI Zip Code: 48316

3. Malling address of the registered office:
P.O. Box or Street 56684 HARTLEY DR. WEST

Address:
Apt/Suite/Other:
City: SHELBY TWP.

State: bHL Zip Code: 49316

This annual statement must be signed by a member, manager, or an authorized agent.
Signed this 6th Day of January, 2023 by:

Nathir Hermez Member

By selecting ACCEPT, I hereby acknowledge that this electronic decument is being signed in accordance with the Act. I further certify
that to the best of my knowledge the information provided Is true, accurate, and in compliance with the Act.

, Dectine | Accept
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelID.130 Filed 01/17/25 Page 13 of 140
Filed by Corporations Division Administrator Filing Number: 223621762700 Date: 01/06/2023

MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS

FILING ENDORSEMENT

This is to Certify that the 2023 ANNUAL STATEMENT

for

RICHMOND MAIN, LLC

iD Number: 802387837

received by electronic transmission on January 06,2023 __—s is hereby endorsed.

Filedon January 06, 2023 =, by the Administrator.

The document is effective on the date filed, unless a subsequent effective date within 90 days after
received date is stated in the document.

in testimony whereof, | have hereunto set my
hand and affixed the Seal of the Department,
in the City of Lansing, this 6th day

of January, 2023.

Boone. Age

Linda Clegg, Director
Corporations, Securities & Commercial Licensing Bureau

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to :
ities & Gay

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.131 Filed 01/17/25 Page 14 of 140
Filed by Corporations Division Administrator Filing Number: 223621760300 Date: 01/06/2023

Form Revision Date 07/2016

ANNUAL STATEMENT

For use by DOMESTIC LIMITED LIABILITY COMPANY
(Required by Section 207, Act 23, Public Act of 1993)

Identification Number: 802387837

Annual Statement Filing Year: 2922

1. Limited Liability Company Name:

HECAIMOWDD BATA, LLC

2. The street address of the limited lability company's registered office and name of the resident agent at that office:
1. Resident Agent Name: WATHIR HERMEZ

2. Street Address: 56684 HARTLEY DR. WEST
Apt/Suite/Other:
City: SHELBY TWP.
State: MI Zip Code: 48316

3. Malling address of the registered office:
P.O. Box or Street 56684 HARTLEY DR. WEST

Address:
Apt/Suite/Other:
City: SHELBY TWP.

State: i] Zip Code: 48316

This annual statement must be signed by a member, manager, or an authorized agent.
Signed this Gth Day of January, 2023 by:

Nathir Hermez Member

By selecting ACCEPT, I hereby acknowledge that this electronic document is being signed in accordance with the Act. I further certify
that to the best of my knowledge the information provided Is true, accurate, and In compliance with the Act.

t

' Decline 1 Accept

:
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.132 Filed 01/17/25 Page 15 of 140
Filed by Corporations Division Administrator Filing Number: 223621760300 Date: 01/06/2023

MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS

FILING ENDORSEMENT

This is to Certify that the 2022 ANNUAL STATEMENT

for

RICHMOND MAIN, LLC

iD Number: 802387837

received by electronic transmission on January 06,2023 __—s, is hereby endorsed.

Filedon January 06,2023, by the Administrator.

The document is effective on the date filed, unless a subsequent effective date within 90 days after
received date is stated in the document.

In testimony whereof, | have hereunto set my
hand and affixed the Seal of the Deparimeni,
in the City of Lansing, this 6th day

of January, 2023.

Boe Age

Linda Clegg, Director
Corporations, Securities & Commercial Licensing Bureau

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.133 Filed 01/17/25 Page 16 of 140

DEPARTNENT OF LICENSING AND REGULATORY AFFAIRS 15-08
GSCLICD-2700 {10/20} LIMITED LIABILITY COMPANY ANNUAL STATEMENT .
2021 CCAR
Due February 15, 2021 File Online at www.michigan.gov/corpfileoniine
identification Numbar Limited Lrability Company Name

802387837 RICHMOND MAIN, LLG

1 Resident agent name and mailing address of the registered office

Change realdent agent and/or mailing address of
registered office in MICHIGAN {can be a P.O. Box).

HATHIP HERE WEST RECEIVEp FILED

SHELBY TWP., Ml 48316
MAR O5 2024
DEC 28 2020$25 .09
CORPORATIONS DIVISION
LARA
2 The address of the registered office Change address of registered office In MICHIGAN
56684 HARTLEY DR. WEST (MICHIGAT address: number, street, city, state, zip, cannot.
be a P.O. Box).

SHELBY TWP., Ml 48316

emper, manager or agent. | Tile Date Phone {Optional}
mnie’ _| poflsfeo

Arinual Statement Must Be Signed (Item 3 above)

Domestic: Signature of a manager if management is vested in managers, by at least 1 member if management remains in
the members, or by an authorized agent of the domestic limited hability company.

Foreign: Signature of a person with authonty to do so under the laws of the foreign limited lability company's jurisdiction of
organization.

Filing Fee: $25.00

Annual Statement must be received by agency on or before February 15, 2021.

Veterans: Pursuant to MCL 450.5101 (9){10), If a majorily of the membership interests in the limited ltability company
responsible for paying the fee are held by 1 or more veterans who served in the United States Armed Forces, (including the
raserve components) who were discharged or released under conditions other than dishonorable, you may obtain further
information regarding a fee waiver at www.michigan.gov/corpveteranfeewaivers

Submit

Online: www.michigan.gov/corpfileonline

Save time by filing online You will get an immediate response and you can elect to receive future notices by email to the
resident agent. The agent will also be sent an email when a document ts filed, or the CID/PIN Is requested You will need
your Customer ID number (CID) and PIN, which can be obtained using the CID/PIN Recovery Page at
www.michigan.gov/corppin.

Mail: Return completed statement with a check or monay order payable to the State of Michigan to.
Corporations Division, P.O. Box 30768, Lansing, MI 48909 (517) 241-6470

Required by section 207, 1993 PA 23, as amendad BAT2700LLG_NOV
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.134 Filed 01/17/25 Page 17 of 140

Exhibit 3
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.135 Filed 01/17/25 Page 18 of 140

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mer L396% 90 REGISTER OF OEEDS
MONROE COUNTY, HICH

OPERATION AND EASEMENT AGREEMENT ‘
BETWEEN 0?
DAYTON HUDSON CORPORATION ¥
AND
FRENCHTOWN SQUARE PARTNERSHIP

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.136 Filed 01/17/25 Page 19 of 140

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GPERATION AND EASEMENT AGREEMENT

TABLE OF CONTENTS

Section Page
PARTTES * s e * . . - . *. * . 2 . . . * . * 1

ARTICLE I DEFINITIONS 2.2. 5 0 ee ee ew et ht he 2
1.1 Building Area . 2 6 6 6 ee we ee we ee ee 2
1.2 Common Area . ee - ee ee ee ee we a
1.3 Floor ArT@@ « « © »© w» © © © ee we ew ehhh lll 2
1.3A Major Store Buildings . . 2. 2 26 © se ee a mh we 3
1.38 Mall Store Buildings . . 1. 1 we 2 ee ew we ew we 3
1.4 Occupant * 8 © » 8 8 Ow we ewe lUhlllmlhlUlUhl lel 3
1.5 Party .« s 8 © © 8 wo ee ew ew 4
1.5A Permissible Building Area(s) .« . 2. 5 © «we we oe 4
1.6 Person . se se ee eee ee eh 5

1 * 7 Permittee eo © 8 @ © © © © ©» 8 © © © © ©» » © © © © 5

1.8 Shopping Center . 2. 2. 6 e+ we ew we we we th ew 5
1.9 Tract/Parcel . . 2. 2. 1 es we we we eh ee we 5
ARTICLE II BASEMENTS 1. 6. 0 8 ee ew ee te th he hl hl hl 5
2-1 Ingress and Egress . 1 6. + «8 we 8 ee we we ee 5
2.2 Utilities . 2. 1. wee ee we ee hh ee 8
2.3 Construction, Maintenance and Reconstruction... 10
2-4 Restriction = = 8 8 8 & &F 8 & © Be he ee eh hulle 1 1
ARTICLE ITZ CONSTRUCTION . 2. 2. 6 8 ee we et we ll lll hl kl tl lCUdY
3.1 General Requirementa . . 1. 6 0 2 ee ee we we ew ws (DD
3.2 , Common Area@. . 2. 2 we ee wk th lw le le lhl lll UL
3.3 Building Improvement. ee ee ee we te we ee 1G
ARTICLE Iv MAINTENANCE AND REPAIR . . . « «© «© © © © © © w© © © 20
4.1 Utilities . . 2. 2 ww we we ew ee hh hl ll 2D

4. 2 Common Area. +» .« «© « « « = _ 8 © &© © © ©» © © & © 20
4.3 Building Improvements. . . 0. 2. 2 6 eo . oe 25

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.137 Filed 01/17/25 Page 20 of 140

(BE L396 "8 O960

ARTICLE V OPERATION OF THE SHOPPING CENTER . . «6 « 2 1 6 5 « 26
5.1 Operating Covenants/Uses . 2. 6 6 2 2 8 ee ee ee 26
5 * 2 Lighting . - e . e *. . . . . o e = * . . s a s a 3 1
5 *. 3 Signs a os oa . . . 2 : a * o . * s . . s * o * « * 33
5 * 4 Insurance * . s . * * * * . s . a . a . ® o . a . 34
5.5 Taxes and Assesaments . . . - © «© « © «© © © © @ » 39
5.6 Liens. « « s-s « 6 = we ee ee ee 39 -

ARTICLE VI MISCELLANEOUS a a . *. * * » . * s s * . o s . e a 4 0
6 e 1 befault o s . * * a . . . e . . a . s a a « . . * 4 G
6.2 Interest . . « a . 8 8 8 *@ © © # #@ © © 8 © # 8 4l
6.3 Eatoppel Certificate eo oe 8 fll lel lll 42
6 . & Notices . 2 o . * . * * . ’ . *. . s . . . *. a ® * 4 3
6 1 5 Approval. Rights . . . . . os . . . *. * s * . * o . 4 3
6.6 Condemnation oo oe oe 8 we oe ee lk lc hlUm lll 44
6 e 7 Binding R£fect “ . * . e a « . a * « a s es . a . . 44
6.8 Singular and Plural . + 5 6 8s #6 ee ee wo ee AB
6.9 Counterparts and Signature Pages . . «6 ess 3 2 45
6.10 Negation of Partnership « . 2 6 8 © se 8 ee ee AS
6.11 Net a Public Dedication . 2. 6 8 © 2 we ew we ee AG
6.12 Excugable Delays . 1. 6 6 8 ee ee ee ee we ee AS
6 . 1 3 Severability * * s * . s a . . o a a * * . . . * .* 4 6
6. 14 Anendments . = 8 . 8 » © 8s 8 2 # © © 8 © 46
6.15 Captions and Capitalized Terme eee ee te we we 4G
6.16 Minimization of Damages -» + « « ee + © © © © © ow 46
6.17 OEA Shall Continue Notwithstanding Breach ..,. . 46
6 1 8 Time » oe . s * a e e e s a . . * * . * e a a . a * 4 7
6 . 19 Non-Waiver eo. 8 @ @&© © &8 © 8 © © &» BB B @ & a oe he 47
6 . 20 Liability . s . * a * s s *. eo s * es * . a 4 7

ARTICLE VI I TERM * * * . e * . . a a a . . * . . e * a s 4 7

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EXHIBIT A Legal Deseription of Target Tract

EXHIBIT 3 ‘Legal Neseription of Developer Tract

EXHIBIT Cc (There is No Exhibit C)

EXHIBIT Db Pylon Sign

EXHIBIT E Legal Deseription of Access Road Easement (One}

EXHIBIT E-l1 Legal Description of Access Road Easement (Two)

EXHIBIT F Utility Plans List

EXHIBIT G Fire Clauses of Majors

EXHIBIT 8 Sign Criteria

EXHIBIT X Site Plan

EXHIBIT X-1 Drawing

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.138 Filed 01/17/25 Page 21 of 140

ime 1396 O96L

OPERATION AND EASEMENT AGREEMENT

THIS AGREEMENT ("OEA") is made and entered into as of the

day of yt, 9G" between DAYTON HUDSON
¥
CORPORATION, a Minnesota corporation ("Target") and FRENCHTOWN SQUARE

PARTNERSHIP, an Ohio general partnership ("Developer").
WITHESSETH:

WHEREAS, Target is the owner of a certain tract of land
described in Exhibit A attached hereto ("Target Tract") and
identified as such on Exhibit X (the "Site Plan"} attached hereto;
and

WHEREAS, Developer is the owner of a certain tract of land
described in Exhibit B attached hereto {"Developer Tract"} and
identified as such on the Site Plan; and

' WHEREAS, the Target Tract and the Developer Tract are
contiguous and adjacent as shown on the Site Plan and collectively
are the "Shopping Center"; and

WHEREAS, Developer has heretofore developed the Developer
Tract as a shopping complex: and ,

WHEREAS, the signatories hereto intend to operate their
respective Tracts in conjunction with each other as integral parts of
a retail shopping complex and in order to effectuate the common use
and operation thereof they desire to enter into certain covenants and
agreements as a part of a general plan, and to grant. to each other
certain reciprocal easements, in, to, over and across their
respective Tracts. . ,

NOW, THEREFORE, in consideration of the premises, the
covenants and agreements hereinafter set forth and in furtherance of
the Parties’ understanding, it is agreed as follows:

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.139 Filed 01/17/25 Page 22 of 140

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ARTICLE TI
DEFINITIONS

1.1 Building Area. "Building Area" shall mean the limited
areas of the Shopping Center within which buildings (including
canopies, supports, loading docks, truck ramps and other outward
extensions) may be constructed, placed or located.

1.2 Common Area. “Common Area" shall mean all areas within
the exterior boundaries of the Shopping Center, exclusive of
buildings and their respective truck docks and/or receiving areas.

1.3 Floor Area. "Floor Area" shall mean the total, from
time to time, of the actual number of square feet of enclosed floor
space in any building and any enclosed, permanently heated and/or
air~conditioned Outdoor Selling Areas located on a Party’s Parcel, as
exclusively appropriated for use by an Occupant of such Parcel and
not part of Common Areas, whether or not actually occupied. Floor
Area includes: {i} basement space; (ii) balcony and mezzanine space;
(iii} space occupied by colums, stairs, escalators, dumbwaiters,
conveyors or other interior equipment within the building involved .
{except as excluded below); and (iv) space occupied by any Kiosk.

(A Kiosk shall be measured from its outermost projection.) Notwith~
standing the foregoing provisions of this definition, Floor Area
shall not include space for: (1) balcony and mezzanine space used
for stock area and the second or more levels of any multi-deck stock
areas unless the area exceeds three and one-half percent (3-1/2%) of
a building, in which case the excess will be included within Ploor
Areaj (2) metal or wood open-grate two-level shelving used for
storage of merchandise; (3) the Shopping Center’s management and
security offices and Merchants’ Association or Marketing Fund office;
(4) community hall and meeting rooms, if any [but in no event shall
there be excluded from “Floor Area" pursuant to this item (4) more
than 5,000 square feet of floor space]; (5) Common Area maintenance
office and equipment storage areas used exclusively for the storage
of maintenance and promotional equipment, supplies and materials for
Common Area maintenance and Shopping Center promotions; (6) emergency

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.140 Filed 01/17/25 Page 23 of 140

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exit corridors between fire resistant walls required by building
codes and not contained within any area exclusively appropriated for
the use of any single Occupant; (7) any Enclosed Mall public
restroom; and (8) Outdoor Selling Areas if not enclosed or not
permanently heated and/or air-conditioned. Floor Area shall be
measured from the exterior faces of the exterior walls (including
basement. walls), except that where party and interior common walls
are involved, Floor Area shall be measured from the center thereof
instead of from the exterior faces thereof, irrespective of openings,
if any, for entranceways contained therein.

During any period of rebuilding, repairing, replacement or
reconstruction of a building, the Floor Areas of that building shail
be deemed to be the same as existed immediately prior to that period.
Upon completion of such rebuilding, repairing, replacement or
reconstruction, the Party upon whose Tract such building is located,
shall cause a new determination of Floor Area for such buiiding to be
made in the manner described above, and such determination shall be
sent to any Party requesting the same.

1.3A Major Store Buildings. “Major Store Buildings" shall .
mean the buildings designated Unit 100, Unit 200, Unit 300, Unit 395,
and Unit 650 on Exhibit K {tegether with any additions thereto or

replacements thereof) which shall abut, with openings, on the
enclosed mall.

1.3B Mall Store Buildings. "Mall Store Buildings” shall mean
the buildings designated as such on Exhibit X (together with any
additions thereto or replacements thereof) within the Permissible
Building Areas of the Shopping Center, excluding the Major Store
Buildings, which shall abut, with openings, on the enclosed mall.
1.4 Occupant. "Occupant" shall mean any Person from time to
time entitled to the use and occupancy of any portion of a building
or land in the Shopping Center under any lease, sublease, license,
concession, ox other similar agreement, or who owns land which is
included within the Shopping Center.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.141 Filed 01/17/25 Page 24 of 140

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1.5 Party. "Parties" shall be the signatory hereto and,
after compliance with the notice requirements set forth below, their
respective successors and assigns who shall become owners of the
total Tract of either Developer or Target. Until the notice
requirement is complied with, the transferring Party shall (for the
purpose of this OEA only) be the transferee’s agent. Each Party
shall be liable for the performance of all covenants, obligations and
undertakings herein set forth with respect to the portion of the
Shopping Center owned by it which accrue during the period of such
ownership, and such liability shall continue with respect to any
portion transferred until the notice requirement set forth below is
complied with, at which time the transferring Party’s personal
liability shall terminate. The transferee Party shall automatically
become liable for all obligations arising after compliance with the
notice requirement. A Party transferring all of its interest in the
Shopping Center shall give notice to all other Parties of such
transfer and shall include therein at least the following
information:

(a) the name and address of the transferee; and
{b) A copy of the survey or Site Plan with metes and
bounds description showing the location and indicating the
legal deseription of the portion of the Shopping Center
transferred.
Nothing contained herein to the contrary shall affect the existence,
priority, validity or enforceability of any lien permitted hereunder
which is placed upon the transferred portion of the Shopping Center
prior to receipt of the notice.

1.58 Permissible Building Area(s). "Permissible Building
Area(s)” shall mean the area(s} designated as such on Exhibit X
within which buildings and other improvements are permitted to be
constructed pursuant to the terms of this OEA. Permissible Building
Area not developed with buildings shall be,,developed as Common Area
until such time as a building is constructed thereon.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.142 Filed 01/17/25 Page 25 of 140

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1.6 Person. “Person” shall mean any individual,
partnership, firm, association, corporation, trust, or any other form
of business or government entity.

1.7 Permittee. "Permittees" shall mean all Occupants and
the officers, directors, employees, agents, contractors, customers,
vendors, suppliers, visitors, invitees, licensees, subtenants, and
concessionaires of Occupants insofar as their activities relate to
the intended use of the Shopping Center. Among others, Persons
engaging in the following activities on the Common Area will not be
considered to be Permittees:

{i) Exhibiting any placard, sign or notice;

(ii} Distributing any circular, handbill, placard or
bookiet;

(iii) Soliciting memberships or contributions;

‘{iv) Parading, picketing, or demonstrating; and

(v) Failing to follow regulations relating to the use
of the Shopping Center.

1.3 Shopping Center. “Shopping Center" shall mean the

Developer Tract and the Target Tract. identified on Exhibit X attached
hereto.

1.9 Tract /Parcel. "Tract" or "Parcel" shall mean that
portion of the Shopping Center owned by a Party.

ARTICLE If
EASEMENTS
2.1 Inqress and Horess.
(A) Perpetual Ingress and Eqress.

(1) Target hereby grants to Developer, its
successors and assigns, a perpetual, non-exclusive easement
over the area crosshatched in green on Exhibit KX and described
in Exhibit E attached hereto, for ingress and egress in common
with others entitled te use the same, for the passage of
vehicles over and across the driveway areas described on the

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.143 Filed 01/17/25 Page 26 of 140

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Target Tract. Target agrees that all of this area shall
always be used solely for ingress and egress, as shown on
Exhibit k..

{ii) Developer hereby grants to Target, its
successors and assigns, a perpetual, non~exclusive easement
over the area shaded in yellow on Exhibit X and described in
Exhibit E-l1 attached hereto, for ingress and egress in common
‘with others entitled to use the same, for the passage of
vehicles over and across the driveway areas described on the
Developer Tract. Developer agrees that all of this area shall
always be used solely for ingress and egress, as shown on
Exhibit xX.

(B) During the term of this OFA each Party hereby
grants and conveys to each other Party for its use and for the use of
its Permittees, in common with others entitled to use the same, a
non-exclusive easement for the passage and parking of vehicles over
and across the parking and driveway areas of the grantor’s Tract as
the same may from time to time be constructed and maintained for such
use and for the passage and accommodation of pedestrians over and
across the parking, driveways and sidewalk areas of the grantor’s
Tract as the same may from time to time be constructed and maintained
for such use. Such easement rights shall be subject to the following
reservations as well as other provisions contained in this OBA:

(i) Except for situations specifically provided
for in the following subparagraphs, no fence or other barrier
which would unreasonably prevent or obstruct the passage of
pedestrian or vehicular travel for the purposes herein
permitted shall he erected or permitted within or across the
easement areas; provided, however, that’ the foregoing
provision shall not prohibit the installation of convenience
facilities (such as ‘mailboxes, public telephones, benches or
public transportation shelters), of landscaping, berms or

planters, nor of limited curbing and other forms of traffic
controls.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.144 Filed 01/17/25 Page 27 of 140

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(ii) In connection with any construction,
reconstruction, repair or maintenance on its Tract, each Party
reserves the right to create a staging and/or storage area in
the Common Area on its Tract at such location as will not
unreasonably interfere with access between such Tract and the
other areas of the Shopping Center.

(iii) Each Party hereby reserves the right, from
time to time without obtaining the consent or approval of any
other Party, to make at its own expense any insignificant
change, modification or alteration in its portion of the
Common Area, provided that:

{a) The accessibility of such Common Area
for pedestrian and vehicular traffic {as it relates to
the remainder of the Shopping Center) is not
unreasonably restricted or hindered.

(b) there shall be maintained at all times
within such Common Area, a sufficient number of
vehicular parking spaces to meet the parking
requirements set forth in 3.2 (EB), and all parking
stalls and rows and vehicular traffic lanes shall remain
generally as shown on the Site Plan;

(c}) no governmental rule, ordinance or
requlation shall be violated as a result of such action,
and such action ‘shall not result in any other Party
being in violation of any governmental rule, ordinance
or regulation;

(d) no change shall be made in the access
points between the Common Area and the public streets;

except that additional access points may be created
without the approval of either Party provided such
additional access point(s) {i) have no adverse effect on
the other Party’s Tract, {ii} are not within two hundred

(200) feet of an existing point, and {iii) are more than

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.145 Filed 01/17/25 Page 28 of 140

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two hundred (200) feet from the common boundary of the
Developer and Target Tracts;

(2) at least thirty (30) days prior to
making any such change, modification or alteration, the
Party desiring to do such work shall deliver to each
other Party copies of the plans therefor, and provided
further that such work shall not cecur between October
let and the following January 31let.

(iv) Except for the areas described in Section
2.1 (A) above, each Party reserves the right to close off its
portion of the Common Area for such reasonable period of time
as may be legally necessary, in the reasonable opinion of such
Party’s counsel, to prevent the acquisition of prescriptive
rights by anyone; provided, however, that prior to closing off
any portion of the Common Area, as herein provided, such Party
shall give not less than thirty (30) days’ written notice to
each other Party of its intention to do so, and shall attempt
to coordinate such closing with each other Party so that no
unreasonable interference in the passage of pedestrians or
vehicles shall occur;

(v} Each Party reserves the right at any time
and from time to time to exclude and restrain any Person who
is not a Permittee from using its Common Area.

22 Utilities.

(A) Each Party hereby grants and conveys to each other
Party non-exclusive perpetual easements in, to, over, under, along
and across those portions of the Common Area (exclusive of any
portion located within a Building Area) located on the grantor’s
Tract necessary for the installation, operation, flow, passage, use,
maintenance, connection, repair, relocation, and removal of lines or
systems for utilities serving the grantee‘s Tract, including but not
limited to, sanitary sewers, storm drains, water (fire and domestic),

gas, electrical, telephone and communication lines. Except with

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.146 Filed 01/17/25 Page 29 of 140

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respect to ground mounted electrical transformers at the rear of a
building or as may be necessary during periods of construction,
repair, or temporary service, all utilities shall be underground
‘unless required to be above ground by the utility providing such
service. Prior to exercising the right granted herein, the grantee
shall first pravide the grantor with a written statement describing
the need for such easement, shall identify the proposed location of
the utility, and shall furnish a certificate of insurance showing
that its contractor has obtained the minimum insurance coverage
required by 5.4 (D) hereof. Any Party installing utilities pursuant
to the provisions of this subparagraph shall pay all costs and
expenses with respect thereto and shall cause all work in connection
therewith (including general clean~up and proper surface and/or
subsurface restoration) to be completed as quickly as possible and in
&a Manner so as to minimize interference with the use of the Common
Area by the Parties hereto. If any of the Parties elects to install
common utilities, all costs and expenses thereof may be set forth in
a separate agreement between those cooperating Parties.

{B) Attached hereto as Exhibit F is a list of the
as-built plane showing the location of all utilities in the Shopping
Center. The grantor shall have the right at any time to relocate a

utility line upon thirty (30) days’ prior written notice, provided
that such relocation:

{h) shall not interfere with or diminish the
utility services to the qrantee;

(ii) shall not reduce or unreasonably impair the
usefulness or function of such utility;

(iii) shall be performed without cost or expense
to grantee and without unreasonably interfering with the use
of the Common Areas by the other Party or its Permittees;

(iv) shall be completed using materials and

design standards which equal or exceed those originally used;
and

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.147 Filed 01/17/25 Page 30 of 140

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(v) shall have been approved by the utility
company and the appropriate governmental or quasi~governmental
agencies having jurisdiction thereof.

Documentation of the relocated easement area shall be the qrantor‘s
expense and shall be accomplished as soon as possible. Grantee shall
have a right to require an as-built survey of such relocated utility
be delivered to it at grantor’s expense. The grantor of each
easement for utility purposes under this 2.2 reserves for itself and
its successors and assigns, the right to use the surface of the
ground over and/or under any easement granted for purposes of
landscaping and other planting, paving and parking, and any other
improvements other than structures. ,
2.3 Construction, Maintenance and Reconstruction.

(A} In order to accommodate any footings, foundations,
columns or. walls which may be constructed or reconstructed
immediately adjacent to a common boundary line and which may overlap
that common boundary line, each Party grants to each other Party a
non-exclusive easement in, to, over, under, and across that portion
of its Tract adjacent to such common boundary line in space not
theretofere occupied by any then existing structure for the
construction, maintenance and replacement of footings to a maximum
distance of five feet (5’) onto the grantor’s Tract and for the
construction, replacement and maintenance of foundations, columns, or
walls to a maximum distance of six inches (6"} onto the gqrantor's
Tract. The grant of easement shall include the reasonable right of
access necessary to exercise and enjoy such grant. ‘The easement
shall continue in effect for the term of this OEA and thereafter so
long as the building utilizing the easement area exists, including a
reasonable period to permit reconstruction or replacement ‘of such
building if the same shall be destroyed, damaged or demolished. If
any subterranean construction is required to be performed, and it is
necessary to remove the concrete slab above, the slab shall be

replaced and the finish material on the slab shall be repaired to its
original condition.

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.148 Filed 01/17/25 Page 31 of 140

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(B} Prior to utilizing the easement right set forth in
{A) above, the grantee Party shall advise the grantor Party of its
intention to use the same, shall provide plans and specifications and
" proposed construction techniques for the improvements to he located
within the easement area, and shall give the grantor Party an
opportunity to commence any construction activities which such Party
contemplates undertaking at approximately the same time to the end
that each Party involved shall be able to utilize subterranean
construction techniques which will permit the placement above ground
of a building on each Tract immediately adjacent to the common
boundary line. If a common subterranean construction element is used
by the Parties, it is specifically understood that each shall assume
and pay jts reasonable share of the cost and expense of the initial
construction and, 30 long as both Parties are benefitting therefrom,
subsequent maintenance thereof. In the event any building utilizing
a common subterranean element is destroyed and not replaced or is
removed, the common subterranean construction element shall be left
in place for the benefit of any building utilizing the same located
on the adjoining fract. .

2.4 Restriction. No Party shall grant any easement for the
purpose set forth in this Article for the benefit of any property not
within the Shopping Center; provided, however, that the foregoing
shall not prohibit the granting or dedicating of utility easements or
readways by a Party on its Tract to governmental or quasi-
governmental authorities or to public utilities.

ARTICLE TIT
CONSTRUCTION
- 3.1 General Requirements.

(A) Each Party agrees that all construction activities
performed hereafter by it within the Shopping Center shall be
performed in compliance with all laws, rules, regulations, orders and
ordinances of the city, county, state, and federal governments, or

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.149 Filed 01/17/25 Page 32 of 140

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any department or agency thereof, affecting improvements constructed
within the Shopping Center.

(B)- Each Party further aqrees that its future
construction activities shall not:

(i) cause any unreasonable increase is the cost
of constructing improvements upon another Party’s Tract;

{ii} unreasonably interfere with construction
work being performed on any other part of the Shopping Center;

(iii) unreasonably interfere with the use,
occupancy or enjoyment of any part of the remainder of the
Shapping Center by any other Party or its Permittees;

(iv) cause any other Party to be in violation of
-any law, rule, regulation, order or ordinance applicable to
its Tract of the city, county, state, federal government, or
any department or agency thereof.

(cj Each Party agrees to defend, indemnify and hold
harmless each other Party from all claims, actions, proceedings and
costs incurred in connection therewith (including reasonable
attorneys’ fees and costs of suit) resulting from any accident,
injury or.loss or damage whatsoever occurring to any Person or to the
property of any Person arising out of or resulting from the
performance of any construction activities performed or authorized by
such indemnifying Party.

(D) Prior to constructing, reconstructing, repairing,
maintaining, remodeling, or enlarging a building or maintaining or
changing the Common Area on its Tract, a Party shall designate a
staging and storage area on the Common Area on its Tract and shall
give each other Party notice of such location at least ten {10) days
prior to commencing such work. All storage of materiale and the
parking of construction vehicles, including vehicles of workers,
shall occur only on the constructing Party’s Tract. If substantial
work is to be performed, the constructing Party shall, at the request
of any other Party, fence off the staging and storage area. Upon

-12-

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.150 Filed 01/17/25 Page 33 of 140

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completion of such work, the constructing Party shall restore the
affected Common Area to a condition at least equal to that existing
prior to commencement of such work.

(E} Each Party hereby grants and conveys to each other
Party and to its respective contractors, materialmen and laborers a
temporary license to enter upon the Common Area of the grantor’s
Tract ag shall be reasonably necessary for the grantee to construct
and/or maintain improvements upon the grantee’s Tract; provided,
however, that such License shall be in effect only during periods
when actual construction and/or maintenance is being performed and
provided further that the use of such license shall not be exercised
so as to unreasonably interfere with the use and operation of the
Common Area by others. Prior to exercising the rights granted
herein, the grantee shall first provide the grantor with a written
statement describing the need for such license, and shall furnish a
certificate of insurance showing that its contractor has obtained the
minimum insurance coverage required by Section 5.4 (DB) hereof. Any
Party availing itself of the temporary license shall promptly pay all
costs and expenses associated with such work, shall diligently
complete such work as quickly as possible, and shall promptly clean
the area and restore the affected portion of the Common Area to a
condition which is equal to or better than the condition which
existed prior to the commencement of such work. Notwithstanding the
foregoing, in the event a dispute exists between the contractors,
laborers and/or others connected with construction activities, each
Party shall have the right to prohibit the contractors, laborers

and/or others working for another Party from using the Common Area on
its Tract.

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{EF} Target and Developer acknowledge that the
construction work heretofore in place and completed by Developer and
Target may not in every instance meet the requirements of this OKA.
Target and Developer hereby acknowledge and accept all construction
work heretofore completed by Developer and Target and acknowledge the
same is acceptable to Developer and Target.

-13-

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.151 Filed 01/17/25 Page 34 of 140

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3.2 Common Area. Upon its election to construct a building
upon its Tract, each Party shall cause the Common Area on its Tract
to be improved substantially as shown on the Site Plan with
substantial completion of such Common Area to be no later than the
date of mutual execution of this OHA. Such work shall be done in a
good and workmanlike manner and in accordance with good engineering
standards; provided, however, the following minimum general design
standards shall be complied with:

(A) The lighting system shall be designed to produce
4a minimum maintained lighting intensity measured at grade at
all points in the Common Area of 1.00 foot candle; provided,
however, that the extreme edge of the parking or drive areas
may have not less than a minimum maintained lighting intensity
measured at grade of 0.5 foot candle, and provided further
that. the drive areas immediately in front of the pedestrian
entrance to the Target building shall have not less than a
minimum maintained lighting intensity measured at grade of 5,0
foot candles. Each Party will control the light standards
located on its land. The type and design of the light
standard are approved by Target and Developer.

(3) The slope in the parking area shall not exceed a
maximum of four percent (4%), nor be less than a minimum of
one percent {1%), unless otherwise agreed to by the Parties.

(C) All sidewalks shall be concrete or other material
approved by the Parties. The paved portions of the Common
Area shall be paved in ‘accordance with a paving recommendation

obtained from a reputable engineering firm approved by the
Parties. Target agrees not to unreasonably withhold or delay
its approval of a reputable engineering firm. In the event
Target does not respond after a request by Developer for an
approval within a ten (10} day period, Target will be deemed
to have approved such engineering firn.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.152 Filed 01/17/25 Page 35 of 140

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{D) Utilities that are placed underground shall be at
depths of not less than that designated by consuitants
approved by the Parties. Target agrees not to unreasonably
withhol@ or delay its approval of a consultant. In the event
Target does not respond after a request by Developer for an
approval within a ten (10) day period, Target will be deemed
te have approved such consultant. Design and working drawings
may be prepared hy the utility company providing the service.

(B} Subject to Section 6.6 hereof, each of the Parties
te this OEA shall maintain on its Parcel({s) at all times a
parking ratio of not less than five (5) car spaces for each
one thousand (1,000) square feet of Floor Area on its Parcel.

Each parking space, as well as the bays and lanes,
shall comply with and shall have the minimum dimensions
apecified on the Site Plan. It is agreed by the Parties
hereto that the parking areas as shown on the Site Plan shall
contain not more than ten percent (10%} of the bays to

accommodate “compact" type cars, located as designated on the
Site Plan.

(PF) Developer and Target have approved the grading and
drainage plan used in initial construction of the Common Area.
During the term of this’ OEA, no Party shali alter the grade
elevations on any portion of its Tract from those established
by such plans if such alteration would increase the flow of
surface water onto another Party’s Tract, affect ingress and
egress, or otherwise materially affect another Party’s Tract
in an adverse manner.

(S) Target and Developer acknowledge that the
construction work heretofore in place and completed by
Developer and Target may not in every instance meet the
requirements of this OFA. Target and Developer hereby
acknowledge and accept all construction work heretofore
completed by Developer and Target and acknowledge the same is
acceptable to Developer and Target.

-15-

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.153 Filed 01/17/25 Page 36 of 140

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3.3 Building Improvement.

{A) The Parties hereby agree that all buildings may be
located only within the Building Areas designated on the Site Plan.
Fach Party shall cause the Buildings on its Tract to comply with all
applicable requirements of the UBC, the City, or the County in which
the Shopping Center is located in effect. as of the effective date of
this Operating Agreement.

{B) Additions to Improvements:

(i) Additions to. Improvements Constructed on
Developer Parcel:

(a) Developer agrees that at all times
during the term of this OBA, any additional improvements
constructed on the Developer Parcel will conform to the
following limitations:

(1) Said improvements shall comply
in height with Section 3.3 (G) of this OBA and any
improvements on the Developer Parcel shall be located
only within those areas designated as Permissible
Building Areas on Exhibit X.

{2) The Developer Parcel shall at
all times comply with the parking requirements set forth
in Section 3.2 (BE) of this OBA.

(3) Any enlargement or expansion on
the Developer Parcel shall be conducted in accordance
with Article 3 hereof as if such construction were
initial construction, and shall be located within the
Permiesible Building Areas.

(4) Notwithstanding the foregoing,
Developer shail have the right from time to time and at
any time to make changes in the interior, or in the
arrangement of space in the Mall Store Buildings, or in
the design of storefronts opening onto the enclosed
mall. Developer shall not have the right, however, to

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.154 Filed 01/17/25 Page 37 of 140

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change the configuration, or to reduce the width of the

enclosed mall except for minimal and insubstantial
changes.

(5) The Developer Design Plans shall
provide for a first-class quality structure of first-
class workmanship and materials and shall conform to the
‘design, aesthetic ‘treatment, decor and construction
standards presentiy existing at the Shopping Center.

(6) Target shall have the right to
approve the design of any additions or modifications of
the first seventy feet (70°) of the common mall area,
measured from Target‘’s entrance to the enclosed mall,
such approval not to be unreasonably withheld or
delayed.

(id) Additional Construction

Parcel:

(a) Target agrees that at. all times during
the term of this OFA, any additional improvements
constructed on the Target Parcel will conform to the
following limitations:

(1) Said improvements shall comply
qi in height with Section 3.3 (G) of this OEA and any
improvements on the Target Parcel shall be located only

within those areas designated as Permissible Building
Areas on Exhibit X.

{2} The Target Parcel shall at all
times comply with the parking requirements set forth in
Section 3.2 ({E) of this OBA.

{3) Any enlargement or expansion on
the Target Parcel shall be conducted in accordance with
Article 3 hereof as if such construction were initial
construction, and shall be Jlecated within the
Pernissible Building Areas.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.155 Filed 01/17/25 Page 38 of 140

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(4) Target‘s Design Plans shall
provide for a first-class quality structure of first-
class workmanship and materials and shall conform to the
design, aesthetic treatment, decor and construction
standards presently existing at the Shopping Center.
{C} The Parties hereby specifically consent to the

placement of buildings along the common boundary line between the
Target Tract and the Developer Tract.

(D} Developer acknowledges that Target has constructed
on the Target Tract a “Target retail store" which is generally
classified under applicable building code regulation as an "“anLlimited
area" building: (Sy way of explanation, but not limitation, such
building classification is designated TI-N under the Uniform Building
Code.) Provided Target constructs a building of such classification,
or so long as a building of such classification exists on the Target
Tract {including any restoration of reconstruction thereof),
Developer agrees that any building to be placed or constructed on the
Developer Tract that is (i) located within sixty feet (60) of the
Building Area on the Target Tract, or (ii) located within sixty feet
(60'} of any building referenced in {i} above, shall comply with the
requirements of said classification, including the installation of an

_ approved sprinkler system for fire protection. In order to confirm

the existence of a sixty foot (60’) yard or clear area around the
Target building and the buildings, if any, which are included within
{i) and (ii) above, it may be necessary to place of record an
instrument establishing the same. Each Party agrees to join in the
execution of such instrument in a form satisfactory to such Parties.
In addition to the requirements set forth above, no building located
on the Developer Tract. shall be placed or constructed in a Manner
which will itself preclude the construction of a building of such
classification on the Target Tract.

{EB} The second Party to construct a building along the
common boundary line between the Target Tract and the Developer Pract

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.156 Filed 01/17/25 Page 39 of 140

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shall do so in a manner that does not result in damage to the
improvements ‘in place on the adjoining Tract, and further shail
undertake and assume at its sole cost the obligation of conpleting
and maintaining the nominal attachment (flashing and seal) of its
building to that of the existing building on the other Tract, it
being the intent of the Parties to establish and maintain the
appearance of one continuous building complex. In performing such
attachment, the wall of one building shall not receive support from
nox apply pressure to the wall of the ether building.

(F)} If a portion of any Building Area is at one point
in time paved and used as, Common Area, such portion may be
subsequently used for building purposes provided. that all parking
requirements and other provisions relating to such Tract are complied
with. Likewise, such building may be subsequently razed, and until
replaced, the area shall thereafter be deemed part of the Common
Area.

{G) No building or other structure (exclusive of any
freestanding sign referred to in Exhibit D hereof) shall exceed the
_ following height restrictions:
(i) ° On the Target. Tract - 30 feet
{ii} On the Developer Tract - 30 feet [other than
Building Area occupied or to be occupied by a department
store; for purposes of this 3.3 (G) (ii), a “department store"
is defined to mean any retail store having a size of thirty-
nine thousand (39,000) square feet of gross leasable area or
more, which will not exceed forty (40) feet.]
The height of any building shall be measured pexpendicular from the
finish grade of the interior floor of the Building Area to the top of
the ‘highest single portion of the building, including any parapet,
penthouse, mechanical equipment or similar appurtenance located on
the roof of such building; the height of any structure shall he
measured from its base to the highest single point.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.157 Filed 01/17/25 Page 40 of 140

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ARTICLE IV
MAINTENANCE AND REPAIR
4.1 Utilities.

(A) Fach Party shall repair and maintain in first-
class condition all utility facilities, lines, and systems located on
its Pract that serve its Tract unless the same are dedicated to and
accepted by a public or quasi-public utility or authority.

(B} The qrantee of a utility easement referred to in
2.2 (A) shall maintain and repair at its cost any facilities
installed pursuant to such grant which exclusively serve such
grantee’s Tract unless the same ate granted or dedicated to and
accepted by a utility or a governmental agency acceptable to the
grantor which agrees to maintain and replace the same. Any
maintenance and repair of nondedicated utilities located on another
Party’s Tract shall be performed only after two (2) weeks’ notice to
the grantor (except in an emergency the work may be initiated with
reasonable notice) and shall be done after normal business hours
whenever possible and shall otherwise be performed in such a manner
as to cause as little disturbance in the use of the grantor’s Tract
as is practicable under the circumstances. Any Party performing or
causing to be performed maintenance or repair work agrees to promptly
pay all costs and expenses associated therewith, to diligently
complete such work as quickly as possible and to promptly Clean the
area and restore the affected portion of the Common Area to a
condition equal to or hetter than the condition which existed prior
to the commencement of such work.

4.2 Common Area.

{A) Rach Party agrees at its sole cost and expense to
maintain or cause to be maintained those portions of the Common Area
located on its Tract in a first-class condition and in compliance
with all applicable governmental laws, rules, regulations, orders,
and ordinances and the provisions of this OBA.

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.158 Filed 01/17/25 Page 41 of 140

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{B) The minimum standard of maintenance for the
improved Common Area shall be comparable to that followed in other
first-class cetail developments of comparable size in the State of
Michigan and shall include, but not be limited to, the following:

(i) Maintain, repair and resurface all drive and
parking areas to keep the same in a smooth and evenly covered
condition, and sweep and clean the game, as needed, and
restripe and patch said areas as necessary, but not less often
than every second year. Such activities shall, to the extent
possible, be scheduled to occur prior to or after normal
business hours cf the Shopping Center.

‘{id) Keep the Common Areas reasonably free of
papers, debris, filth, refuse, ice and snow to the extent
necessary to keep the same in a first-class, clean, and
orderly condition. .

(iii} Install and maintain appropriate directional
signs and markers, and replace the same as necessary.

{iv} Illuminate the drive and parking areas, and
maintain and replace lighting facilities, bulbs and ballasts,
and pay all’ electric consumption for said illumination.

(v) Maintain all landscaped areas, including the
replacement of shrubs and other landscaping as necessary, and
maintain any automatic sprinkler system serving the landscaped
areas.

{vi} Clean, sweep, maintain, and repair all
sidewalks and curbs.

(vii) Store all trash and garbage emanating from
the Common Areas in adequate, screened containers and provide
for regular collection of same.

(c} In consideration for the Developer ‘s assumption of
some of Target’s Common Area maintenance obligations (as hereinafter
set forth}, Target shall pay to Developer an annual Common Area
Maintenance charge {"CAM charge") equal to forty cents (40¢) per
square foot of Floor Area on the Target Parcel for each calendar year

-21-

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.159 Filed 01/17/25 Page 42 of 140

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of the term of the OEA (on a prorated basis for any period less than
a full calendar year). Said annual CAM charge shall be paid in equal
monthly installments, in advance, on the first day of each month
during the term of the OBA, commencing on the date of this OFA.
Developer shall perform the following obligations on behalf of
Target: )
(2) Make minor repairs to all drives and
‘parking areas. to keep the same in a smooth and evenly covered
condition {any replacement or resurfacing shall only be
performed at. the request of Target by Developer, at Target’s
-expense, which is not included in the above CAM charge) and
sweep and clean the same as needed, and restripe said areas as
necessary but not less often than every second year.
(ii) Keep the Common Areas reasonably free of
‘papers, debris, filth, refuse, ice and snow to the extent
necessary to keep the same in a first-class, clean, and
erderly condition.
(lili) Install and maintain appropriate directional
signs and markers, and replace the same as necessary.
{iv) Maintain all landscaped areas on the Target
Parcel including the replacement of shrubs and other
landscaping as necessary, and maintain any automatic sprinkler
system (if any) serving the landscaped areas (except for any
landscaped areas or automatic sprinkler system located inside
the Target Building curb line).
(v} Clean and sweep all sidewalks.
(vi} Store all trash and garbage emanating from
the Common Areas in adequate, screened containers and provide
for regular collection of same.

The CAM charge shall be increased in accordance
with the following formula. As used herein, “Price Index” shall mean
the Consumer Price Index, All Urban Consumers (U. S. City Average},
as compiled and published by the Bureau of Labor Statistics, United

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.160 Filed 01/17/25 Page 43 of 140

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States Department of Labor, as revised from time to time for base
averages. If such Price Index should in the future be compiled on a
different basis, appropriate adjustments will be made for purposes of
computations under this clause. If the United States Department of
Labor no longer compiles and publishes such Price Index, any
comparable index published by any other branch or department of the
Federal Government shall be used for the purpose of computing the
adjustments herein provided for, and if no such index is compiled and
published by any branch or department of the Federal Government, the
statistics reflecting cost of living changes as compiled by any
institution, organization or ‘individual generally recognized ag an
authority by financial and insurance institutions shall be used as a
basis for such adjustments.

Recognizing the length of the term of this OEA and
inflationary tendencies in recent years, Target agrees that in the
event the Price Index reflects an increase in the cost of living over
and above such costs as reflected by such Price Index as it exists
for the month of December, 1992 (hereinafter called the "Base

Index"), the annual CAM charge payable hereunder shall be adjusted as
follows:

(a) There shall be an adjustment in the annual
CAM charge commencing with the date of this OFA, based upon
the percentage increase (if any) between the Base Index and
the Price Index for the month of December immediately
preceding such adjustment. .
The percentage increase thus determined
shall be multiplied by the annual CAM charge set forth in this
OBA, and the total amount of such annual CAM charge plus the
amount so determined shall constitute the annual CAM charge
for the remainder of the first calendar year of the term of
this OEA.
{b) There shall be an annual adjustment in the
annual CAM charge for each calendar year commencing with the
first full calendar year after the date of this OEA based upon

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.161 Filed 01/17/25 Page 44 of 140

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the percentage increase (if any) between the Base Index and
the Price Index for the month of December immediately
preceding such adjustment.

The percentage increase thus determined
shall. be multiplied by the annual CAM charge set forth in this
Agreement, and the total amount of such annual CAM charge plus
the amount so determined shall constitute the annual CAM
charge for the calendar year next ensuing.

(c) The same formula shall be used in adjusting
the annual CAM charge for the second full calendar year of the
term of this OFA and each year thereafter, but no such adjust-
ment shail result in a reduction of the annual CAM charge
below the greater of: (1) the annual CAM charge set forth in
this OFA; or (2) the annual CAM charge thereafter payable as
determined in accordance with subsections (a), (B) and (c)
hereof.

{B) In the event any governmental taxing authority
acting under any present or future law, ordinance or regulation duly
enacted and not set aside by reason of litigation or modified or
repealed, should levy, assess or impose a tax, excise and/or

assessment (ether than a net income or franchise or similar type
tax), hereinafter referred to as "Tax", upon the payment made by
Target pursuant to this OFA, Target shall pay such Tax or, in the
event such Tax is payable by Developer, shall reimburse Developer for
‘the amount thereof actually paid by Developer to the governmental
authority on the amount of Target’s payment to Developer. Such
reimbursement, if necessary, shall be made within thirty (30) days
after Developer notifies Target of the amount paid by Developer on
behalf of Target. Developer agrees that in no event shall such Tax
exceed three percent (3%) of the CAM charge payable hereunder.

(E) In the event any of the Common Area is damaged or
destroyed by any cause other than normal wear and tear, whether
insured or uninsured, during the term of this OFA, the Party upon
whose Tract such Common Area is lecated shall repair or restore such

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.162 Filed 01/17/25 Page 45 of 140

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Common Area at its sole cost and expense with all due diligence.
Notwithstanding the foregoing, but nevertheless subject to 5.4 (C),
in the event such damage or destruction of Common Area is qaused in
whole or in part by another Party or third Person, the Party
obligated to make such repair or restoration reserves and retains the
right to proceed against guch other Party or third Person for
indemnity, contribution or damages.

4.3 Building Improvements.

(A) After completion of construction, each Party
covenants and agrees to maintain and keep the building improvements
located on its Tract in first-class condition and state of repair, in.
compliance with all governmental laws, rules, regulations, orders,
and ordinances exercising jurisdiction thereover, and in compliance
with the provisions of this OBA. Bach Party further agrees to store,
or caused to be stored, all trash and garbage in adequate containers,
to locate such containers se that they are not readily visible from
the front parking area, and to arrange for regular removal of such
trash or garbage. The foregoing shall not apply to the normal, trash
containers used for the deposit of refuse by customers and invitees
ef the Shopping Center.

(B) In the event any of the building improvements are
damaged by fire or other casualty (whether insured or not), the Party
upon whose Tract such building improvements are located immediately
shall remove the debris resulting from such event and provide a
sightly barrier and within a reasonable time thereafter, if such
event cecurs during the first fifteen (15) years ef the term hereof,
shall repair or restore the building improvements so damaged, such
repair or restoration to be performed in accordance with all
provisions of this OBA. If such event occurs after the first fifteen
(15) years of the term hereof, the Party may (1) erect other building
improvements in such location, provided all provisions of this OEA
are complied with, or (ii) demolish the damaged portion of such

building improvements and restore: the area to an attractive

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.163 Filed 01/17/25 Page 46 of 140

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condition, in which event the area shall be Common Area until a
replacement building is erected. After the expiration of the first
fifteen (15) years of the term hereof, such Party shall have the
option to choose ‘which of the foregoing alternatives to perform, but
such Party shall be obligated to perform one of such alternatives.
Such Party shall give notice to each other Party within ninety (90)
days from the date of such casualty of which alternative it elects.
Notwithstanding any language to the contrary elsewhere in this
Section 4.3, Target and Developer agree that with regard to Unit 395
occupied by Phar-Mor (its successors or assigns), Unit 200 occupied
by Elder-Beerman (its successors or assigns), Unit 300 occupied hy
Sears (its successors or assigns), and Unit 650 occupied by J.c.
Penney Company. (its successors or assigns), Developer‘s obligations

‘with regard to rebuilding these units shall be governed by the
casualty clauses set forth in the Lease Agreements entered into with
these tenants, their successors and assigns, as set forth on
fxhibit G attached hereto and made a part hereof.

ARTICLE V
OPERATION OF THE SHOPPING CENTER
5.1 Operating Covenants/Uses.

(A) Developer's Operating Covenant. Developer
covenants with Target, for a period of ten (10) years following
Target’s initial opening for business and for so long thereafter as
two (2} of more Major Store Buildings are being operated as single
retail stores, Developer shall continuously operate the enclosed mall
and at least sixty percent (60%) or more of the Floor Area of the
Mall Store Buildings, with reasonably even distribution thereof
throughout the enclosed mall, in a manner consistent with best
standards of reasonable shopping center practices. Notwithstanding
the foregoing, this operating covenant shall terminate as to Target

at. such time as Target permanently. ceases to be open for business to
the public.

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.164 Filed 01/17/25 Page 47 of 140

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(B) Target ’s Operating Covenant. Target covenants
with Developer that it will use its best efforts to open its store in
the Target Building, and its entrance to the enclosed mall (which
shall be and remain open during Tenant’s Operating Covenant a minimum
of thirty (30) feet in width), on or before August 1, 1994 and that
Target will thereafter, for a period of ten (10) years from the date
that Target first opens for business in the Target Building, operate
or case to he operated in the Target. Building: During the first
five (5} year period after the date Target first opens, a department
store under the trade name of "Target" or such other trade name as is
now being used or as may hereafter be used at the time in question hy
a majority of its stores of like type in the States of Michigan and
Ohie; and during the next five (5) year period, a department store.
Target shall be released from its operating covenant as set forth
above in the event at any time following Target’s initial opening for

‘business less than seventy-five percent (75%) of the Mail Store
Buildings shall be operating as mall stores, with reasonably even
distribution thereof throughout the enclosed mall; provided, however,
Developer shall have six (6} months after receipt of written notice
from Target within which to cure such deficiency hefore such release
shall be effective. From and after the expiration or termination of
Target's Operating Covenant, should Target elect in the exercise of
its sole and absolute discretion to conduct any retail business in
the Target Building, then Target shall keep open the Target
Building’s entrance (which shall have a minimum width of thirty [30]
feet} to the enclosed mall during such hours as Target elects to keep
the Target Building open for business.

(Cc) Uses. ‘In addition to the above Operating
Covenants, the following restrictions shall be applicable to the
Developer Tract and the Target Tract:

No part of the Shopping Center shall be used for
ether than retail sales or services or commercial purposes,
provided any retail services located on each Tract shall he of

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.165 Filed 01/17/25 Page 48 of 140

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the type defined below and shall in no event be located in
more than five percent (5%) of the total Floor Area on such
Tract. Retail services as to each Tract shall mean retail
financial institutions, real estate and stock brokerage
facilities, travel agencies, medical and dental offices, and
similar uses providing services directly to the public for
fees.

Notwithstanding the foreqoing, no use or service
shali be permitted in the Shopping Center which is
inconsistent with the operation of a first-class enclosed

.mall retail shopping center. Without limiting the generality
of the foregoing, the following uses or services shall not be
consistent with the concept of a first-class retail Shopping
Center:

(i) Any use which emits an obnoxious odor,
noise, or sound which can be heard or smelled outside of
any building in the Shopping Center; provided however,
that this prohibition shall not prohibit a paging
system;

(ii) Any operation primarily used as a warehouse
operation and any assembling, manufacturing, distilling,
refining, smelting, agricultural, or mining operation;

(iii) Any "second hand" store or "surplus" store;
tiv) Any mobile home park, trailer court, labor
camp, junkyard, or stockyard (except that this provision
shall not prohibit the temporary use of construction

trailers during periods of construction, reconstruction
or maintenance);

- {v} Any dumping, disposing, incineration, or
reduction of garbage (exclusive of garbage compactors
located in the rear of any building);

(vi) Any fire sale, bankruptcy sale (unless
pursuant to a court order) or auction house operation;

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.166 Filed 01/17/25 Page 49 of 140

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{vil} Any central laundry, dry cleaning plant, or
laundromat; provided, however, this prohibition shall
not be applicable to on-site service oriented to pickup
and delivery by the ultimate consumer, including nominal
supporting facilities, as the same may be found in
retail shopping districts in the metropolitan area where
the Shopping Center is located;

(viii) Used car lot or auto body repair shop
(provided this restriction shall not exclude a
tire/battery or service operation such as Firestone,
Goodyear or Midas Muffler); and provided further that
this restriction shall not exclude a vehicle dealership
entirely within a Building and occupying up to 5000
square feet for sales or leasing of new automobiles;

{ix) Any bowling alley;
(x) Any skating rink;
(xi} Any living quarters, sleeping apartments, or

ledging rooms;

(xii) Any veterinary hospital or animal raising
facilities (except that this prohibition shall not
prohibit pet shops};

(xiii) ’ Any mortuary;
(xiv) ‘Any establishment selling or exhibiting
pornographic materials;
(xv) Any bar, tavern, or other establishment

whose reasonably projected annual gross revenues from
the sale of alcoholic beverages for on-premises
consumption exceeds sixty percent (60%) of the gross
revenues of such business; This provision shall not
exclude restaurants which shall be defined as an
establishment whose reasonably projected annual gross
revenues from the sale of alcoholic beverages for
on~premises consumption is less than sixty percent (60%)
of the gross revenues of such business;

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.167 Filed 01/17/25 Page 50 of 140

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{xvi) A car wash}
(xvii) Any amusement arcade in Units 600, 610, 615,
105, .110 and 120 as set forth on Exhibit X-1 attached
hereto and made a part hereof;

(xviii) Any theater, except the theater located in
Unit 700, as set forth on Exhibit xX;
{xix} Any flea market, pool/billiard hall, or

dance hall.

(D) The following use and occupancy restrictions shall
be applicable to the Developer Tract:

{i) Any health spa within two hundred (200)
lineal feet of the Target Building;

(ii) No toy store exceeding 5,000 square feet of
Floor Area shall be permitted within 200 lineal feet of the
Target building; however, there shall be no restriction on any
size toy store beyond the 200 foot restriction set forth
above.

{BE} rhe following use and occupancy restrictions shall
be applicable to the Developer ‘Tract and to the Target Tract:

{i) No restaurant ghall be located thereon
within one hundred (100) feet of the other Party’s Tract;

(ii) No more than 20,000 square feet of Floor
Area may be used for office purposes;

{F} No merchandise, equipment or services shall he
displayed, offered for sale or lease, or stored within the Common
Area; provided however, that the foregoing prohibition shall not be
applicable to {i) the storage of the shopping carts on either Tract;
(ii) the seasonal display and sale of bedding plants on the sidewalk
in front of the building located on the Target Tract in such a manner
as not to prevent pedestrian access on such sidewalk, (iii) kiosks in
the common mall area, except for the area crosshatched in red on
Exhibit X-1 (Developer, however, shall be permitted two (2) temporary

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.168 Filed 01/17/25 Page 51 of 140

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kiosks [excluding pushcarts] in the area Grosshatched in red on
Exhibit X-1 provided:
{a] they do not exceed ten feet [10’] in width,
[b] they are of a see-through design,
[c] they do not dispense food or beverages, and
[d] they axe not located within fifty feet
[50°] of Target’s mall entrance);
or (iv) temporary Shopping Center promotions on the Developer Tract,
such as sidewalk sales or mall promotions ("temporary" shall be
defined to mean not more than three [3] days in duration and not more
frequently than monthly), so long as they do not interfere with
pedestrian access in the common mall or on the sidewalks being used.
{G) No Permittee shall be charged for the right to use
the Common Area (this restriction shall not apply to Merchants
Association or Marketing Fund promotions and kiosks).
{B) Each Party shall use its best efforts to cause the
employees of the Occupants of its Tract to park their vehicles only
“on such Tract.

(I) The restrictions contained in Sections 5.1 {D} and
5.1 (£) shall not be applicable to any occupant in possession and
doing business as of the date of this OEA, their successors or
assigns. ‘

5.2 Lighting.

(A) From the. date of mutual execution of this OEA,
each Party hereby covenants and agrees to keep its Tract fully
illuminated each day from dusk to not later than 10:00 p.m., and
further agrees to keep any’ exterior puilding security lights on from
dusk until dawn. :

(B) It is recognized that business establishments
within the Shopping Center may be open for pusiness at different
hours, and that the owner of one Tract upon which a business
establishment is open later may wish to have the Common Area Lights
on another Tract continue to burn beyond the required period.
Accordingly, the owner of such Tract ("Requesting Owner") shall have

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.169 Filed 01/17/25 Page 52 of 140

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the right, at any time to require the owner of the other Tract
("Requested Owner") to keep its Common Area lights on until a later
hour as stipulated by the Requesting Owner; provided that the
Requesting Owner notifies the Requested Owner of such request not
less than fifteen (15) days in advance. The Requesting Owner shall
state the period during which it wishes the lights to be kept on to
a later hour and shall pay to the Requested Owner a prepayment
deposit as follows:

(1) Tf the period is less than thirty (30) days,
then the deposit shall be one hundred ten percent (110%) of
the reasonable cost (as estimated by the Requested Owner} of
electrical power for such later hours to be incurred by the
Requested Owner).

(2) If the period is greater than or equal to
thirty (30) days, then the deposit shall be one hundred ten
percent (110%) of the reasonable cost (as estimated by the
Requested Owner), of electrical power during the Eirst thirty
(30) days of the period for such later hours to be incurred by
the Requested Owner. If the period is greater than thirty
(30) days, then the Requesting Owner shall renew such
prepayment deposit at the end of each thirty (30) day period.

The Requesting Owner agrees to pay one hundred ten percent {110%} of
the cost to the Requested Owner of electrical power to previde, such
extra-hours illumination. If the Requested Owner is of the opinion
that the deposits made by the Requesting Owner do not cover one
hundred ten percent (110%) of such costs, the Parties shall attempt
to agree to the cost of such electrical power and if they cannot do
sa, then the amount the Requesting Owner is obligated to pay shail be
determined from the power costs as estimated by the electric utility
company furnishing such power, or if the utility fails to do so, by
a xeputable engineer. Upon the failure of a Requesting Owner to pay
the aforesaid amount or renew a deposit as required hereby, the
Requested Qwner shall have the right to discontinue such additional
lighting and to exercise other remedies herein provided. Any such

-32-

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.170 Filed 01/17/25 Page 53 of 140

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request for additional lighting may be withdrawn or terminated at any
time by written notice from the Requesting Owner, and a new request
ox requests for changed hours -may be made from time to time.
5.3 Signs.
(A} Target shall have the right, subject to the
provisions of Section 5.3 (C), to maintain not more than four (4)
signs, electrical or non~electrical, on the exterior of the Target
Building, but not more than one (1) sign on each exterior face of the
building, including one {1) sign on the storefront facing the
enclosed mall. Each of the signs shall be parallel to the Target
Building. The size and design of all such signs shall be in
accordance with drawings which have been approved by Developer.
Target, at its sole cost and expense, shall have the right to replace
or change its signs to any other type of signs then being used by
farget in Target Stores in the States of Michigan and Ohio. In the
event Target’s original siqns are so replaced or changed, such new
signs shall be of the same size, in the same location, and of the
game quantity as the original signage. Target also shall have the
right to construct and maintain a pylon sign adjacent to Telegraph
Road in the area designated on Exhibit X. The design of said pylon
sign shall be as set forth on Exhibit D attached hereto and made a
part hereof. Said pylon sign shall also advertise Frenchtown Square
Mall. [Tt is agreed by Developer and Target that each party shall
illuminate and repair ite section of said sign and that the repair

and maintenance of the structure shall he shared aqually by Developer
and Target.

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(B) Developer will, at Developer’s expense, construct
and maintain a pylon sign at the location indicated therefor on North
Monroe Street, which location is set forth on Exhibit xX. Such pylon
sign shall set forth only the name of the Shopping Center. In
addition, Developer shall have the right to construct an additional
pylon sign adjacent to North Monroe Street which shall set forth only
the name of the Shopping Center and may contain an announcement
panel, a theater attraction panel, and/or a restaurant identification
sign. In addition, Developer shall have the right to construct and
maintain a pylon sign adjacent to Telegraph Road which shall set

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.171 Filed 01/17/25 Page 54 of 140

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forth only the name of the Shopping Center and may contain an
announcement panel, a theater attraction panel, and/or a reataurant
identification sign, in the area designated on Exhibit X. During the
term of this OEA, such pylon signs shall be kept in good order and
repair by Developer and lighted during the evening hours until the
Shopping Center is closed for business, or 10:00 p.m., whichever is
later.

{C) Target, as respects the Target Building, and
Developer, as reapects the buildings on the Developer Parcel, agree
that no sign will be inatalled on the roof of any such building or
which will project above the top of any parapet wall or above the
roof line if it is to be affixed to the side of a building not having
a parapet wall; provided, however, that if a penthouse extends above
any such wall a sign or signs not projecting above the roof line of
such penthouse may be installed on any side thereof.

{DB} Developer shall conform and cause the tenants and
occupants of the Shopping Centex to conform to the Sign Criteria
attached hereto as Exhibit H. However, the occupants of the Major
Store Buildings shall have the rights granted to Target in this
article with regard to their buildings.

{E) Target and Developer acknowledge that all signs
existing as of the date of this OEA may not comply with the
provisions of this Section 5.3, and therefore Target and Developer

agree that all signs existing as of the date of this OFA shall be
deemed approved.

5.4 neaurance.
- (A) Fach Party with respect to its Tract shall
maintain or caused to be maintained in full force and effect
Comprehensive General Liability Insurance, including Personal Injury
Liability Insurance and Contractual Liability Insurance with a
financially reaponsible insurance company or companies licensed in
the state where the Shopping Center is located, with a minimum Best’s
rating of A:X; such insurance to provide for a limit of not less than
Three Million Dollars ($3,000,000) for bodily injury or death to any
one person, for a limit of not less than Five Million Dollars
($5,006,000) for bodily injury or death to any number of persona

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.172 Filed 01/17/25 Page 55 of 140

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arising out of any one occurrence, and for a limit of not less than
One Million Dollars ($1,000,000) fer any property damage.
Additionally, such insurance shall include the following minimum
requirements:

(i) shall provide coverage on an occurrence
basis;

(23) shall provide that the policy may not be
canceled or materially reduced in amount or coverage without
at least thirty (30) days’ prior written notice by the insurer
to each of the other Parties;

(iii) shall include the other Parties as
additional insureds;

(iv) shall provide for severability of interests;

{v) shall provide that an act or omiseion of one
of the insureda or additional insureds which would void or
otherwise reduce coverage, shall not reduce or void the
coverage as to the other additional insureds or the insured,
respectively.

Such insurance shall apecifically extend to the contractual
obligation of the inaured Party arising out of the indemnification
obligations set forth in the next sentence. Fach Party
("Indemnitor") covenants and agrees to indemnify, defend and hold
harmless the other Party ("Indemnitee") from and against all clains,
costs, expenses and liability (including reasonable attorney's fees
and cost of suit incurred in connection with all claims) including
any action or proceedinga brought thereon, arising from or as a
result of: the injury to or death of any person, or damage to the
property of any person or entity which shall occur on the Tract owned
by each Indemnitor, except for claims caused by the negligence or
willful act or omission of such MIndemnitee, ita licensees,
concessionaires, agents, servants, or employees, or the agents,
servants, or employees of any licensee or concessionaire thereof.
The Parties agree to review the minimum Limits set forth above every
ten {1¢) years and further agree tc adjust such limits if
circumstances warrant.

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.173 Filed 01/17/25 Page 56 of 140

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{B) Notwithstanding Section 5.4 (A) above, Developer
and Target agree that, commencing with the time when Developer
commences to perform maintenance of the Common Areas on the Target
Parcel in accordance with the provisions of Section 4.2(B) hereof,
and for so long thereafter as Developer shall be performing such
maintenance, Developer and Target (hereinafter called the "Covered
Parties") will continuously maintain joint general public liability
insurance against claims for personal and bodily injury or death and
property damage occurring on any Common Area (other than the enclosed
mall) or-on any other area outside of a building but within the
Shopping Center. Such insurance shall afford protection to the limit
of not less than $5,000,000 per occurrence. Said insurance shall be
effected under a joint policy, under the terms of which the Covered
Parties shall each be a “named insured". Developer is hereby
designated the agent of the Covered Parties for the purpose of
obtaining such insurance, provided that the approval of Target as toa
the insurer, terms and cost, shall firat be obtained, Target having
theretofore been furnished an analysis of such cost. Developer shall
deliver a copy of such insurance policy to Target. The premium for
said policy shall be apportioned between the Covered Parties on the
basis of the Floor Area of each Parcel of each Covered Party, and
Target‘s share of said premium shall be payable to Developer within
fifteen (15) days after Developer submits statements therefor to
Target. ,

{c) Effective upon the construction of improvements on
its Tract, each Party will carry or cause to be carried, fire
insurance with an extended coverage endorsement with a financially
responsible insurance campany or companies licensed in the state
where the Shopping Center is located, with a minimum Best‘s rating of '
A:X, in an amount at least equal to eighty percent (80%) of the
replacement cost (exclusive of the cost of excavation, foundations,
and footings) of the buildings and improvements , such coverage
extending at least to the following perils: loss or damage by fire,

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.174 Filed 01/17/25 Page 57 of 140

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windstorm, cyclone, tornado, hail, explosion, riot, riot attending a
strike, civil commotion, malicious mischief, vandalism, aircraft,
vehicle, smoke damage, and sprinkler leakage.

Each Party (the “Releasing Party") hereby releases
and waives for itself and on behalf of its insurer, any other Party
{the “Released Party") from any liability for any loss or damage to
all property of such Releasing Party located upon any portion of the
Shopping Center, which loss or damage is of the type generally
covered by fire insurance with an extended coverage endorsement,
irrespective either of any negligence on the part of the Released
Party which may have contributed to or caused such loss, or of the
amount of such insurance required or actually carried. Each Party
agrees to use its best efforta to obtain, if needed, appropriate
endorsements to its policies of insurance with respect to the
foregoing release; provided, however, that failure to obtain such
endorsements shall not affect the release hereinabove given. Each
Party ("Indemnitor") covenants and agrees to indemnify, defend and
hold harmless each other Party ("Indemnitee") from and against all
claims asserted by or through any Permittees of the Indemnitor’s aa
Tract. for any loss or damage to the property of such Permittee
located upon the respective Indemnitor’s Tract, which loss or damage
is of the type generally covered by fire insurance with an extended
coverage endorsement, irrespective of any negligence on the part of
the Indemnitee which may have contributed to or caused such loss.

(D) Prior to commencing any construction activities
within the Shopping Center, each Party shall obtain or require its
contractor to obtain and thereafter maintain so long as such
construction activity is occurring, at least the minimum insurance
coverages set forth below:

(1) Workers’ Compensation ~ statutory limits;
(ii) Employers Liability ~ $100,000;
: {iii} Comprehensive General and Comprehensive Auto
Liability as follows:

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.175 Filed 01/17/25 Page 58 of 140

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= (a) Bodily Injury ~- $1,000,000 per
- occurrence;
- (b) Property Damage - $1,006,000 per
occurrence;
(c) Independent Contractors Liability;
same coverage as set. forth in {a} and (b) above;
- (d) Preducts/Completed Cperations Coverage
which shall be kept in effect for two (2) years after
eompletion of work;

(e) “xCu” Hazard Endorsement, if
applicable;

(f£) "Broad Form" Property Damage
Endorsement}

(9g) "Personal Injury" Endorsements;

(h) "Blanket Contractual Liability"
Endorsement.

If the construction activity involves the use of another Party‘s
Tract, then the owner of such Tract shall be named as an additional
insured and such insurance shall provide that the same shall not be
canceled without at least thirty (30) days’ prior written notice to
the named insureds. If such insurance is canceled or expires then
the constructing Party shall immediately stop all work on or use of
another Party’s Tract until either the required insurance is
reinstated or replacement insurance obtained.

(B) The insurance described above may be carried under
{i) an individual policy covering this location, {ii} a blanket
policy or policies which includes other liabilities, properties and
lecations of such Party, (iii) a plan of self-insurance, provided
that the Party so self~insuring has and maintains $40,000,000 or more
of net current assets as evidenced by such Party’s annual report that
‘is audited by an independent certified public accountant, or (iv) a
combination of any of the foregoing insurance programs. ‘To the
extent any deductible is permitted or allowed as a part of any
insurance policy carried by a Party in compliance with Section 5.4,

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.176 Filed 01/17/25 Page 59 of 140

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such Party shall be deemed to be covering the amount thereof under an
informal plan of self-insurance; provided, however, that in no event
shall any deductible exceed $500,000 unless such Party qualifies for
self-insurance pursuant to (iii) above or such Party has $10,000,000
or more of net current assets. Each Party agrees to furnish to any
Party requesting the same, a certificate(s) of insurance evidencing
that the insurance required to be carried by such Requested Party is
in full foree and effect. For the purpose of this paragraph, if a
Guarantor of this OBA has $10,000,000 or more of net current assets,
such amount shall be sufficient to qualify the Party whose
obligations are being guaranteed to permit such $500,000 deductible
mentioned above. In the event Target or Developer assigns its
interest in this OBA, the Limitation on the deductible of $500,000
shall be decreased to $100,000 as regards said assignee.

5.5 Taxes and Assessments. Hach Party shall pay or cause to
be paid prior to delinquency, all taxes and assessments with respect
to its Tract, the buildings, and improvements located thereon and any
personal property owned or leased by such Party in the Shopping
Center, provided that if the taxes or assessments or any part thereof
may be paid in installments, the Party may pay each such installment
as and when the same becomes due and payable. Nothing contained in
this subsection shall prevent any Party from contesting at its cost
and expense any such taxes and assessments with respect to its Tract
in any manner such Party elects, so long as such contest is

_Maintained with reasonable diligence and in good faith and such
installment(s) have been previously paid under protest to avoid
having the property being in any danger of being lost due to
nonpayment. At the time as such contest is concluded [allowing for
appeal to the highest appellate court), the contesting Party shall
promptly pay all such taxes and assessments determined to be then due
and owing, together with all interest, penalties and costs thereon.

5.6 Liens. In the event any mechanic’s lien is filed
against the Tract of one Party as a result of services performed or

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.177 Filed 01/17/25 Page 60 of 140

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materials furnished for the use of another Party, the Party
permitting or causing such lien to be sa filed agrees to cause such
lien to be discharged prior to entry of final judgment (after all
appeals) for the foreclosure of such lien and further agrees to
indemnify, defend, and hold harmless the other Party and its Tract
against liability, loss, damage, costs or expense (including
reasonable attorney’s fees and costs of suit) on account of such
claim of lien. Upon request of the Party whose Tract is subject to
such lien, the Party permitting or causing such lien to be filed
agrees to. promptly cause such lien to be released and discharged of
record, either by paying the indebtedness which gave rise to. such
lien or by posting bond or other security as shall be required by law
to obtain such release and discharge. Wothing herein shall prevent
a Party permitting or causing such lien from contesting the validity
thereof in any manner such Party chooses so long as such contest is
pursued with reasonable diligence. In the event such contest is
determined adversely (allowing for appeal to the highest appellate
court), such Party shall promptly pay in full the required amount,
together with any interest, penalties, costs, or other charges
necessary to release such lien.

ARTICLE VI
MISCELLANEOUS
6.1 Default.

(A) Tf any Party fails to comply with any provision
herein ("Defaulting Party"), then any other Party ("Non-Defaulting
party") may, upon forty-five (45) days’ prior written notice to the
Defauiting Party, proceed to qure the default (and shall have a
license to do so} by the payment of money or performance of some
other action for the account cf the Defaulting Party. “The foregoing
right to cure shall not be exercised if within the forty-five (45)
day notice period (i} the Defaulting Party cures the default, or (ii)
if the default is curable but cannot reasonably be cured within

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.178 Filed 01/17/25 Page 61 of 140

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that time period, the Defaulting. Party begins to cure such default
within such time period and diligently pursues such action to
completion. The forty-five (45) day notice period shall not be
required if, using reasonable ‘judgment, the Non-Defaulting Party
deems that an emergency exists which requires immediate attention.
In the event of such an emergency, the Non<-Defaulting Party shall
give whatever notice to the Defaulting Party as is reasonable under
the circumstances.

{B) Within ten (10) days of written demand, the
Defaulting Party shall reimburse the Non-Defaulting Party for any sum
reasonably expended by the Non-Defaulting Party to cure the default,
together with interest thereon.

(Cc) In the event any Party shall institute any action
or proceeding against another Party relating to the provisiona of
this QEA, or if any default hereunder, or to collect any amounts

owing hereunder, or if an arbitration proceeding ig commenced by
agreement of the Parties to any dispute, the unsuccessful litigant in
such action or proceeding shall reimburse the successful litigant
therein for costs and expenses incurred by the successful litigant in
connection with such action or proceeding and any appeals therefrom,
including attorneys’ fees and court costs.

{D) All remedies are cumulative and shall be deemed
additional to any and all other remedies to which any Party may be
entitled in law or in equity. ach Party shall also have the right
to restrain by injunction any violation or threatened violation by
any other Party of any of the terms, covenants, or conditions of this
OBA, or to obtain a decree to compel performance of any such terms,
covenants, or conditions, it being agreed that the remedy at law for
a breach of any such term, covenant or condition (except those, if
any, requiring the payment of a liquidated sum) is not adequate.

6.2 Interest. Wherever and as often as one Party shall not
have paid any sum payable hereunder to another Party within five. (5)
days of the due date, such delinquent Party shall have interest on

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.179 Filed 01/17/25 Page 62 of 140

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such amount from the due date to and including the date such payment
ie received by the Party entitled thereto, at the lesser of:

(A) The highest rate permitted by law to be paid on
such type of obligation by the Party obligated to make such
payment or the Party to whom such payment is due, whichever is
leas; or

(B) Three percent (3%) per annum in excess of the
prime rate from time to time publicly announced by Norwest
Bank, Minneapolis National Association or its successor,

6.3 Estoppel Certificate. Rach Party agrees that upon
written request (which shail not -be more frequent that three [3]
times during any calendar year) from time to time of any other Party,
it will issue to a prospective mortgagee of such other Party or to a
prospective successor Party to such other Party, an estoppel
certificate stating:

(A) whether the Party to whom the request has heen
directed knows of any default by the Requesting Party under
this OEA, and if there are known defaults, specifying the
nature thereof:

(B) whether this OBA has been assigned, modified or
amended in any way by the Requested Party (and if it has, then
stating the nature thereof);

{Cc) that to the Requested Party’s knowledge, this OBA
as of that date is in full force and effect;

Such statement shall act as a waiver of any claim by the Party
furnishing it to the extent such claim is based upon facts contrary
to those asserted in the statement and to the extent the claim is
asserted against a bona fide encumbrancer or purchaser for value
without knowledge of facts to the contrary of those contained in the
statement, and who has acted in reasonable reliance upon the
statement; however, such statement shall in no event subject the
Party furnishing it to any liability whatsoever, notwithstanding the
negligent or otherwise inadvertent failure of such Party to disclose
correct and/or relevant information.

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.180 Filed 01/17/25 Page 63 of 140

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6.4 Notices. All notices, demands, statements, and requests
("notice") required or permitted to be given under this OFA must be
in writing and shall be deemed to have been properly given or served
as of the date of personal delivery or delivery by private overnight
mail service (which obtains a receipt for ita delivery), or as of the
date the same is deposited in the United States mail, prepaid, by
registered or certified mail, return receipt requested. The address
of the signatories to this OBA is set forth below. In the event a
Party shall encumber its Tract by a mortgage and notice of such fact
has been given to the Party issuing such notice, demand, statement or
request, then a copy of any notice of amounts due or notice of
default directed to such mortgaging Party shall aiso be sent to its
mortgagee.

Target ‘Dayton Hudson Corporation
Target Stores - Real Estate
Attn: Property Administration

33 South Sixth Street
Minneapolis, Minnesota 55402

Developer Frenchtown Square Partnership yo? .

2445 Belmont Avenue He

P. O+ Box 2186

Youngstown, Ohio 44504-0186
Any Party shall have the right from time to time and at any time,
upon at least ten (10) days’ prior written notice thereof in
accordance with the provisions hereof, to change its respective
address and to specify any other address within the United States of
America; provided, however, notwithstanding anything herein contained
to the contrary, in order for the notice of address change te he
effective it must actually be received; and further provided such
address may not be a post office box.

6.5 Approval Rights. Uniess otherwise herein provided,
whenever approval is required, such approval shall not be
unreasonably withheld or delayed. Unless provision ia made for a
specific time period, approval shall be given or withheld within ten

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.181 Filed 01/17/25 Page 64 of 140

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{10} days of the receipt of the request for approval. If a
disapproval is not given within the required time period, the
Requested Party shall be deemed to have given its approval. If a
Party shall disapprove, the reasons therefor shall be stated. Except
with respect to an approval given by lapse of time, all approvals and
disapprovals shall be in writing. The “right to approve" herein
reserved by Target and Developer, respectively, shall be assiqnable
by each, but only to a Party who purchases the total Tract from
either Developer or Target; such successor assignee may algo assign
such "right to approve" on the same condition. If the holder of the
“right to approve" transfers its entire ownership interest prior to
assigning such "right to approve", then the transferee Party shall
immediately become vested with such "right to approve."

6.6 Condemnation. In the event of a condemnation or a sale
in lieu thereof concerning a portion or all of the Shopping Center,
the award or purchase price paid for such taking shall be paid to the
Party owning such land so taken; it being the intent of any other
Party who might have an easement. or cther property interest or right
under this OFA in the land so taken, to release and/or waive such
property interest or right with respect to such award or purchase
price; provided, however, no Party shall have the right to seek an
aWard or compensation for the loss of its easement right or property
intereat. Notwithstanding the ahove, 6.6 is not intended to alter
any other agreement which may exist between the owner of the lands so
taken and any person having an interest in said land pursuant to
other contractual relationships.

6.7 Binding Effect. The terms of this OFA shall constitute
covenants running with the land and shall inure to the benefit of and
be hinding upon the signatories hereto and their respective
successors and assigns whe become Parties hereunder. This OFA is not
intended to supersede, modify, amend, or otherwise change the

provisions of any prior instrument affecting the land burdened
hereby. ,

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.182 Filed 01/17/25 Page 65 of 140

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6.8 Singular and Plural. Whenever required by the context
of this OBA, the singular ghali include the plurai, and vice versa,
and the masculine shall include the feminine and neuter genders, and
vice versa.

6.9 Counterparts and Siqnature Pages. This OFA may be
executed in several counterparts, each of which shall be deemed an
original. The signatures to this OEA may be executed and notarized
on separate pages, and when attached to this OEA shall constitute one
complete document,

6.10 Negation of Partnership. None cf the terme or
provisions of this OFA shall be deemed to create a partnership
between or among the Parties in their respective businesses or
otherwise, nor shall it cause them to be considered joint venturers |
or members of any joint enterprise. Each Party shall be considered .
& separate owner, and no Party shall have the right to act as an
agent for another Party, unless expressly authorized to do so herein
or by separate written instrument signed by the Party to be charged.

6.11 Nota Public pedication. Nothing herein contained shall

be deemed to be a gift or dedication of any portion of the Shopping.
Center or of any Tract or portion thereof to the general public, or
for any public use or purpose whatsoever. Except as herein
specifically provided, no right, privileges or immunities of any
Party hereto shall inure to the benefit of any third-party Person,
nor shall any third-party Person be deemed to be a beneficiary of any
of the provisions contained herein.

6.12 Excusable Delays. Whenever performance is required of
any Party hereunder, that Party shall use all due diligence to
perform and take all necessary measures in good faith to perform;
provided, however, that if completion of performance ghall be delayed
at any time by reason of acts of God, war, civil commotion, riots,
strikes, picketing or other lahor disputes, unavailability of labor
or materials, damage to work in progress by reason of fire or other
casualty, or any cause beyond the reasonable control of a Party, then

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.183 Filed 01/17/25 Page 66 of 140

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the time for performance as herein specified shall be appropriately
extended by the amount of the delay actually so caused. The
provisions of this section shall not operate to excuse any Party from
the prompt payment of any monies required by this OKA.

6.13 Severability. Invalidation of any of the provisiona
contained in this OBA, or of the application thereof to any person by
judgment. or court order shall in no way affect any of the other
provisions hereof ox the application thereof to any other person and
the same shall remain in full force and effect.

6.14 Amendments. This OBA may be amended by, and only by, a
written agreement signed by all of the then current Parties and shall
be effective only when recorded in the county and state where the
Shopping Center is located. No consent to the amendment of this OEA
shall ever be required of any, Occupant or Person other than the
Parties, nor.shall any Occupant or Person other than the Parties have
any right to enforce any of the provisions hereof.

6.25 Captions and Capitalized Terms. The captions preceding
the text of each article and section are included only for
convenience of reference. Captions shall be disregarded in the
construction and interpretation of the OEA. Capitalized terms are
also ‘selected only for convenience of reference and do not

necessarily have any connection to the meaning that might otherwise
be attached to euch term in a context outside of this OFA.

6.16 Minimization of Damages. In all situations arising out
of this OEA, all Parties shall attempt to avoid and minimize the
damages resulting from the conduct of any other Party. Bach Party

hereto shall take all reasonable measures to effectuate the
provisions of this OFA.

6.17 OBA Shall Continue Notwithstanding Breach. It is
expressly agreed that no breach of this OFA shall {i) entitle any
Party to cancel, rescind or otherwise terminate this OEA, or
(ii) defeat or render invalid the lien of any mortgage or deed of
trust made in good faith and for value as to any part of the Shopping

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.184 Filed 01/17/25 Page 67 of 140

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Center. However, such limitation shall not affect in any manner any
other rights or remedies which a Party may have hereunder by reason
of any such breach.

6.18 Time. Time is of the essence of this OFA.

6.19 Non-Waiver. The failure of any Party to insist upon
strict performance of any of the terms, covenants or conditions '
hereof shall not be deemed a waiver of any rights or remedies which
that Party may have hereunder or at law or equity and shall not be '
deemed a waiver of any subsequent breach or default in any of such
terms, covenants or conditions.

6.20 Liability. If any Party fails to observe, fulfill or
perform any covenant, term or condition of this Agreement upon its
part to be observed, fulfilled or performed and, as a consequence of
such default, any other Party recovers a money judgment against such
defaulting Party, such judgment shall be a lien on and shall he
satisfied only out of the proceeds of sale received upon execution of
such judgment and-levy thereon against the right, title and interest
of the Defaulting Party in the Defaulting Party’s Tract, and no other
assets of the Defaulting Party shall be liable for any deficiency.

The foregoing Limitation on the Parties’ liability, however, shall
not. apply to the obligation of each. Party to initially perform the
construction of the improvements on its Tract to allow each of the

respective Parties to open the building on its tract initially for .
business.

ARTICLE VII
TERM

7.1 Term of this OBA. This OFA shall be effective as of the

date first above written and shall terminate on the expiration of six

(6} months following notice of termination by one ofthe Parties then

in interest to the other Party then in interest given at any time

after the expiration of the fifty (50) year period following the date

i hereof: provided, however, that the easementa referred to in Article
Il hereof which are specified as being perpetual or as continuing

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.185 Filed 01/17/25 Page 68 of 140

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beyond the term of this OFA shall continue in force and effect as
provided therein. Upon termination of this OEA, all rights and
privileges derived from and all duties and obligations created and
imposed by the provisions of the OBA, except as relates to the
easements mentioned above, shall terminate and have no further force
or effect; provided, however, that the termination of this OEA shall
not limit or affect any remedy at law or in equity that a Party may
have against any other Party with respect to any liability or
obligation arising or to be performed under this OEA prior to the
date of guch termination.

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.186 Filed 01/17/25 Page 69 of 140

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SIGNATURE PAGE OF
OPERATION AND EASEMENT AGREEMENT
BETWEEN
DAYTON HUDSON CORPORATION
AND

FRENCHTOWN SQUARE PARTNERSHIP

IN WITNESS WHEREOF, the Parties have caused this OEA to be

executed effective as of the day and year first above written.

FRENCETOWN SQUARE PARTNERSHIP DAYTON HUDSQN CORPORATION

("Developer") ("Target") ‘
Aw
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thony M

Narke_ Anthony ¥Cataro_} Name Wali E_Hardot. a
Title Auinoné v i ’

a

By
Name *
Title uthorized/Agent

WITNESSES (as tg Developer)

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.187 Filed 01/17/25 Page 70 of 140

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. SS:
COUNTY OF Hennepin }

Personally appeared before me, the undersigned, a Notary Public in

and for, said County and State, At itiann E Harder and
ham [tse , known to me to be the (ice. President and
St. Secretary, respectively, of DAYTON HUDSON CORPORATION,

the Corporation which executed the foregoing document, who
acknowledged that they did sign and seal the foregoing instrument for
and on behalf of said Corporation, being thereunto duly authorized by
its Board of Directors; that the same is their free act and deed ag
such officers and the free act and deed of said Corporation.

IN TESTIMONY WHEREOF, I have hereunto set my h dana and official seal

at. Uingeaoois, Uinnetola , this _]3* day of
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Hy Comm, Expiies xc 15,2074 .
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STATE OF OHIO )
) 88;
COUNTY OF MAHONING }

Personally appeared before me, the undersi ned, a Notary Public in
and for gaid County and = State, rithony M4, Cafara and
Ronald J. Ross , kriown te me to e the Authorized Agents of
FRENCHTOWN SQUARE PARTNERSHIP, the Partnership which executed the
foregoing document, who acknowledged that they did sign the foregoing
instrument for and on behalf of said Partnership, being thereunto
duly authorized; that the same is their free act and deed as such
Authorized Agents and the free act and deed of said Partnership.

IN TESTIMONY WHEREOF, I have ae set my haps and official seal
at Youngstown, Ohio, this day of , ee

199% OO

f f oe Ds
sup Silanes 6 Ns

we Public

SHARVN ALBANESE, Notary Putety So MF
STATE OF OHIO py ye
on Expires October 18, 1998 ae

This instrument prepared by:
Ronald J. Ross, Attorney at Jaw My Commitas]
2445 Belmont Avenue :
P.O. Box 2186 :
Youngstown, Ohio 44504-0186

~5O—

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.188 Filed 01/17/25 Page 71 of 140

ioe 4396" 1014, eo

EXHIBIT A” . ‘ Lo

, . TARGET PARCEL
ot : . , DESCRIPTION OF A SURVEY FOR: . . . oo .
mt 9,9050 ACRE PARCEL
wt oo i PART OF PRIVATE CLAIMS NO,°65 & 353 IN THE NW & NE QUARTERS OF
me SECTION 29, AND THE SW QUARTER OF SECTION 20, 165, ROE,
“yt FRENCHTOWN TGWNSHIP, MONROE COUNTY, MICHIGAN

. *
eto ‘

SITUATED IN PART OF THE TOWNSHIP OF FRENCHTOWN, COUNTY OF MONROE,
STATE OF MICHIGAN AND BEING PART OF PRIVATE CLAIMS NO. 65 AND 353 OF
THE NORTHWEST ‘AND NORTHEAST OUARTERS OF SETION 29 AND THE SOUTHWEST
“noe . ., QUARTER OF SECTION 20, TOWNSHIP & SOUTH, RANGE 9 EAST, AND MORE
von oo . : FULLY OESCRIBED AS FOLLOWS:

Hot, , * OMMENCING FOR REFERENCE AT A POINT’AT THE INTERSECTION OF THE NORTH’"*
% LINE OF BEVERLY PARK SUBDIVISION (PLAT VOLUME 7, PAGE 36) EXTENDED
AND THE CENTERLINE OF MICHIGAN ROUTE 425; THENCE NORTH 24066 {15MIN
* OOSEC EAST, 1876.70 FEET ON AND ALONG SAID CENTERLINE TO A POINT;
THENCE NORTH G4NEG O7MIN 54SEC WEST, 60.02 FEET TO A FOUND IRON BAR
IN THE NORTHERLY LINE OF A PARCEL OF LANO NOW OR FORMERLY OWNED BY
VICTOR BELLESRT (LIBER G68, PAGE 212): THENCE ON AND ALONG THE
. WESTERLY RIGHT-OF-WAY: LINE ‘OF SAID MICHIGAN ROUTE, 125 NORTH 240EG
- 1SMIN ODSEC EAST,78.38 FEET TO THE TRUE POINT OF BEGINNING , FOR
THE HEREIN DESCRIBED PARCEL;

THENCE NORTH 68DEC 35MIN Sesee WEST: 254.98 FEET TO A SET IRON ROD,
THENCE NORTH 650EG: JBMIN 55SEC WEST, 325.19 FEET TO A SET IRON ROO:
THENCE SQUTH GBOEG SIMIN 28SEC WEST, 20.12 FEET 10 A SET IRON ROD:

THENEE SOUTH ZS0EG SIMIN 28SEC WEST. 521.51 FEET TO A FOUND GENERAL
LAND OFFICE MONUMENT, PASSING AT 35.21 FEET A FOUNO IRON ROO MARKING
THE NORTHERLY CORNER OF LANDS NOW OR FORMERLY OWNEO @Y SaiO VicTOR
BELLESTRI:

THENCE NORTH &2DEG O7MIN SOSEC WEST, 281.96 FEET TOA S FOUND GENERAL
. « LAND OFFICE MONUMENT;,
“ "THENCE NORTH G2DEG 1EMIN 27 SEC WEST, 276/25 Feet TO A FOUND GENERAL
LAND OFFICE MONUMENT;

4

THENCE NORTH 64DEG S4MIN 25SEC WEST: “1768.35 FEET TO A SET IRON ROD;

THENCE NORTH “24DEG oBMIN YA5EC EAST, 498, 76 FEET TO A SET’RAILROAD , \
SPIKE;

. . THENCE SOUTH G50EG 46MIN 25SEC EAST: 409.48 FEET TO A SET RAILROAD .
PIKE: . ‘ -

THENCE NORTH 24DEG 13MIN 3SSEC EAST, 33.92 FEET TO A SET RAILROAD

SPIKE: ,

THENCE SOUTH G5OEG 48MIN SESEC EAST, 284.11 FEET TO A SET IRON ROD;
THENCE NORTH 24DEG SSMIN 42SEC EAST, 35.70 FEET .1O A SET IRON ROD:
THENCE SOUTH 6SDEG SOMIN SSSEC EAST, 376,75 FEET TO A SET IRON ROD:

THENCE SOUTH G8DEG 35MIN SéSEC EAST, 256.66 FEET TO.A SET IRON ROO
IN THE WESTERLY RIGHT-OF~WAY OF SAID MICHIGAN ROUTE 1257

THENCE ON AND ALONG SAIO RIGHT-OF-WAY LINE. SOUTH 24086 15MIN OOSFC
WEST, 70,09 FEET TO THE PLACE OF BEGINNING. CONTAINING IN ALL 9.9050 .
ACRES OF LAND, MORE OR LESS, SUBJECT HOWEVER TO ALL LEGAL HIGHWAYS
AND EASEMENTS. WRITTEN OR RECORDED. -

. keh CM Lebo) ep 4 [105

RALPH T, WILLIAMS ~-ND, 19619 - DATE

”

EXHIBIT A

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.189 Filed 01/17/25 Page 72 of 140

September 23, 1989
Rev. 10/12/93

iar? 4396 28 £042

EXHIBIT B

State of Michigan
County of Monroa
Township of Franchtown

FRENGHTOWN SQUARE
LEGAL DESCRIPTION —

Developer Parcel

Situated in the State of Michigan, County of Monroe, Township of Franchtown,
and being part of Private Claims 65 and 353 of the Northwest and Northeast
Quarters of Saction 29 and the Southwest Quarter of Section 20, Township 6
South, Range 9 East, and being described as two parcels and more fully
described as follows:

’ PARCEL I

Commencing for reference at a point at the intersection of the north line of
Beverly Park Subdivision (Plat Volume 7, Page 36) extended and the centerline
of Michigan Route 125; '

Thence N 24° 15' GO" B, along the centerline of said Michigan Route 125, a
distance of 1876.70 feet to a point;

Thence N 64° 07’ 54" W, and leaving the centerline of said Michigan Route 125,
a distance of 60.02 feet to a found iron bar in the northerly line of a parcel
of land now or formerly owned by Victor Ballestri (Liber 868, Page 212), said
iron bar also being on the wasterly right-of-way line of Michigan Route 125,
said iron bar being the TRUE FLACK OF BEGINNING for the herein described Parcel
qT . ,

Thence N 64° 07' 54" W, along tha northerly line of said Bellestri lands, a
distance of 593.98 feat to a point at the northwasterly corner of said
Bellestri lands;

Thence N 23° 51' 28" EB, a distance of 35.21 feet to a point;
Thence N 68° 51! 28" E, a distance of 20.12 feet to a point;
Thence S 65° 38' 55° E, a distance of 325.19 feet to a point;

Thence § 68° 35' 36" E, a distance of 254.98 feet to a point on the westerly
right-of-way line of Michigan Route 125;

Thence 5S 24° 15’ O00" ¥, along the westerly right-of-way lina of said Michigan
Route 125.00, a distance of 78.38 feet and returming to the True Place of
Beginning and enclosing an area of 0.8188 acres of land.

Page 1 of 4

EXHIBIT B

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.190 Filed 01/17/25 Page 73 of 140

Legal Description star we : September 23, 1989
Frenchtown Square BE? $396 "38! 1013 Rev. 10/12/93
Developer Parcel

‘PARCEL I

Commencing at an iron bar at the intersection of the northerly line of lands
now or formerly owned by Victor Bellestri and the westerly right-of-way line. of
Michigan Route 125, said iron bar also known as the True Place of Beginning of
Parcel T;

Thence N 24° 15' 00" E, along the westerly right-of-way line of Michigan Route
125, a distance of 148.47 feet to a point, said point being the TRUE PLACE OF
RECINNIRG for the herein described parcel of land, said parcel of lund being
Parcel TI;

Thence N 68° 35' 36" W, and leaving the westerly right-of-way line of Michigan
Route 125, a distance of 256.66 feet to point;

Thence N 65° 38' 55" W, a distance of 376.75 feet to a point;
Thence S 24° 33" 42" W, a distance of 35.70 feat to #2 point;
Thence N 65° 48’ 58" W, a distance of 284.11 feet to a point;
Thence S 24° 13' 35" W, a distance of 33.92 feet to a point;
Thence N 65° 46" 25" W, a distance of 409.48 feet to a point;
Thence § 24° O8' 12" W, a distance of 498.76 feet to a point;

Thence N 64° 54 25" W, a distance of 741.30 feet to a General Land Office
monument at the Northwest corner of Private Claim 63;

Thence N 24° 41' 20" E, along the easterly line of Private Claim 647, a
distance of 1,209.83 feet to a point; :

Thence N 23° 59' 24" E, a distance of 77.07 feet to a point, said point being
on the southerly line of a 80.00 foot right-of-way of Mali Road, as conveyed
to the Board of County Road Commissioners of the County of Monroe from
Frenchtown Square Partnership on March 26 of 1992, as recorded in Liber 1214,
Page 643;

Thence N 85° 36' 45" BE, along the southerly right-of-way line of Mall Road, a
distance of 586.19 feet to a P.C. of a curve to the right;

Thence along the arc of a curve to the right and continuing along the southerly
right-of-way Line of Mail Road, a distance of 479.83 feat to the P.T. of said
curve, said curve having a radius of 960.00 feet and a central angle of 28° 38°
15";

Thence $ 65° 45' 00" E, continuing along the southerly right-of-way line of
Mall Road, a distance of 320.47 feet to a P.C. of a curve to the right;

Page 2 of 4

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.191 Filed 01/17/25 Page 74 of 140

Legal Description

Frenchtown Square tape rent
Developer Parcel 1396“ 1014

September 23, 1989
Rev. 10/12/93

Thence along the arc of a curve to the right and continuing along the southerly
right-of-way line of Mall Road, a distance of 104.10 feet to the P.T. of said
curve, said curve having a radius of 397.62 feet and a central angle of 15° 00!
oo": .

Thence S 50° 45" 00" E, continuing along the southerly right-of-way of Mall
Road, a distance of 113.49 feat to a P.C. of a curve to the left;

Thence along the are of a curve to the left and continuing along the southerly
right-of-way line of Mall Road, a distance of 125.04 feet to the P.T. of said
curve, said curve having a radius of 477.62 feet and a central angle of 15° 00'
Oo"; . ‘

Thence S 65° 45' 00" E, continuing along the southerly right-of-way line of
Mall Road, a distance of 409.00 feat to a point;

Thence S 20° 45° 00" EB, continuing along the southerly right~of-way line of
Mall Road, a distance of 25.46 feet to a point on the westerly right-of-way
line of Michigan Reute 125; .

Thence S 24° 15’ O00" W, along the westerly right-of-way line of Michigan Route
125, a distance of 28.37 to a point, said point being the northeasterly corner
of lands now or former owned by Theodore Roberts and Hazel Roberts, as recorded
in Liber 281, Page 249;

Thence leaving the westerly right-of-way lime of said Michigan Route 125, N 64°
Si’ OO" WY, along: the northerly line of said Roberts lands, a distance of 600.23
feet to a point at the northwesterly corner of said Roberts lands;

Thence S 24° 15' 00" W, along the westerly line of said Roberts lands, a
distance of 55.00 feat to a point; '

Thence continuing along the westerly line of said Roberts lands, § 23° 28? 30"
W, a distance of 114.59 feet to a point at the southwesterly corner of said
Roberts lands}

Thence S 64° 45' 00" E, along the southerly line of said Roberts lands, a
distance of 598.70 feat to a point on the westerly right-of-way line of
Michigan Route 125;

Thence S 24° 15" 00" W, along the westerly line of said Michigan Route 125, a
distance of 232.60 feet to a point, said point being at the northeasterly
corner of lands now or formerly owned by Don's Real Estate:

Thence N 64° 13' 00" W, along the northerly line of said Don's Real Estate
lands, a distance of 199.47 feet to a point at the northwesterly corner of said
Don's Real Estate Lands;

Page 3 of 4

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.192 Filed 01/17/25 Page 75 of 140

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Pevochtern Syuare (9 4.396 “$015

Developer Parcel,

September 23, 1989
Rev. 10/12/93

Thence S 24° 23° 45" W, along the wastarly lina of Don's Real Estate lands, a
distance of 199.97 feet to 2 point at the southwesterly cornar of said Don's
Real. Estate Lands;

Thence. 5 64° 13' oo" R, along the southerly line of Don's Real Estate lands, a
distance of 199.98 feet to a point on the westerly right-of-way line of
Michigan Route 125;

Thence § 24° 15' 00" W, along tha westerly right-of-way line of said Michigan
Route 125, a distance of 406.44 feet and raturning to the True Placa of
Baginning and enclosing an area of 56.1839 acres of land.

The combined total area for Parcel T and Parcel II of the Developar Parcel is
57.0027 acres of land.

Bearings area based on a record bearing of the centerline of Michigan Route 125.
This legal description is based on a number of survey's as performed by
Poggemayer Design Group for the Frenchtown Square Mall properties. Reference
numbers and dates are as follows: Job No. 7047-002, dated 8/5/93; Job No.
6503009, dated 4/7/85; Job Ne. 6503007, dated 2/15/89: Joh No. 6503004, dated
4/6/88. This legal description is alse based on the Frenchtown Square Mall Road
Right-of-Way Plans, by Wade-Trim Associates on sheet 7 of 15, Job. No, 2222332-
OL with last revision date being 9/89.

The Cafaro Company
Prepared by: Allison M. H. Carmichael
Approved by: David NM. DeChristofaro, P.E., P.S.

Profassional Engineer, Ohio #46711
Profassional Surveyor, Ohio #7490

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Page 4 of 4

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.193 Filed 01/17/25 Page 76 of 140

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' (THERE IS NO EXBIBIT "C" TO THIS AGREEMENT)

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.194 Filed 01/17/25 Page 77 of 140

vate 1396 8% 1047

EXHIBIT D

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.195 Filed 01/17/25 Page 78 of 140

October 16, 1993
EXHIBIT "RB" Rev, 02/24/94
State of Michigan . .

County of Monroe

Township of Frenchtown tinge 1396 "'-4018
FRENCHTOWN SQUARE

LEGAL DESCRIPTION

Perpetual Easement over Access Road

Situated in the State of Michigan, County of Monroe, Township of Frenchtown,

and being part of Private Claims No. 65 and 353 of the Northwest and Northeast ‘
Quarters of Section 29 and the Southwest Quarter of Section 20, Township 6

South, Range 9 East, and more fully described as follows:

Commencing for reference at a point at the intersection of the north line of
Beverly Park Subdivision (Plat Volume 7, Page 36} extended and the centerline
of Michigan Route 125;

Thence N 24° 15' 00" E, along the centerline of said Michigan Route 125, a
distance of 1876.79 feet te a point;

Thence N 64° 07' 54" W, and leaving the centerline of said Michigan Route 125,
a distance of 60.02 feet to a found iron bar in the northerly line of a parcel
of land now or formerly owned by Victor Bellestri (Liber 868, Page 212), said
iron bar also being on the westerly right-of-way line of Michigan Route 125;

Thence on and along the wasterly right-of-way line of said Michigan Route 125,
N 24° 15' 00" E, a distance of 78.38 feet to the TRUE PLACE OF BRGINNING for
the herein described parcel of land;

Thence N 68° 35' 36" W, and leaving the westerly right-of-way line of said
Michigan Route 125, a distance of 254,98 feet to a point;

Thence N 65° 38° 55" W, a distance of 325.19 feet to a point;
Thence 5 68° 51° 28" W, a distance of 20.12 feet to a point;
Thence N 65° 46' 25" W, a distance of 9.28 feet to a point;

Thence § 24° 13' 35" W, a distance of 394.22 feet to a point, said point being
the P.C. of a curve the right;

Thence along the arc of @ curve to the right, a distance of 94.25 feet to the

P.T. of said curve, said curve having a radius of 60,00 feet and 2 central
angle of 90° 00' 00";

Thence N 65° 46' 25" W, a distance of 581.71 feet to a point, said point being
the P.C. of a curve to the right;

Thence along the are of a curve to the right, a distance of 78.54 feet to the

P.T. of said curve, said curve having a radius of 50.00 feet and a central
angle of 90° 00’ 00";

Thence N 24° \3' 35" E, a distance of 230.01 feet to a point, said point being
the F.C. of a curve to the left;

Page 1 of 2

EXHIBIT "E"

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.196 Filed 01/17/25 Page 79 of 140

Perpetual Easement: Over Access Road ’ October 16, 1993
Frenchtown Square . Rev. 02/24/94
8? 1396 2" 1019 cs

Legal Description

Thence along the arc of a curve to the left, a distance of 59.76 feet to the
“PLT. of said curve, said curve having a radius of §9.00 feet and a central

angle of 68° 28' 38";

Thence. N 24° 08' 13" E, a distance of 142,31 feet to a point;

Thence § 65° 46' 25" E, a distance of 40.00 feet to a point;

Thence $ 24° 13° 35° W, a distance of 63.00 feet to a point;

Thence § 05° 27' 27" W, a distance of 68.00 feet to a point;

Thence § 24° 13' 35" W, a distance of 291.44 feat to a point, said point being
the P.G. of a curve to the left;

Thence along the are of a curve to the left, a distance of 31.42 feet to the
P.T. of said ctirve, said curve having a radius of 20.00 feet and a central
angle of 90° 60' 00";

Thence $ 65° 46' 25" E, a distance of 581.71 feet to a point, said point being
the P.C. of a curve to the left;

Thence along the are of a curve to the left, a distance of 47.12 feat to the
P.T. of said curve, said curve having a radius of 30.00 feet and a central
angle of 90° OOF QO";

Thence N 24° 13' 35" E, a distance of 442.96 feet to a point;
Thence N 24° 33' 42" E, a distance of 35.70 feet to a point;
Thence § 65° 38' 55" E, a distance of 376.75 feet to a point;

Thence § 68° 35° 36" E, a distance of 256.66 feet to a point, said point being
on the westerly right-of-way Line of Michigan Route 125;

Thence 5 24° 14° 59" W, on and along the said westerly right-of-way line of
Michigan Route 125, a distance of 70.09 feet and returning to the True Place
of Beginning and enclosing an area of 2.1461) acres of land.

Bearings are based on a record bearing of the centerline of Michigan Route 125.
This legal description is not an actual survey but is based on a survey as

performed by Poggemeyer Design Group, Inc. for the Dayton-Hudson Corporation on
August 5 of 1993.

The Cafaro Company pertts
ete OF a

Prepared by: Allison M. 4. Carmichael

Approved by: David M. DeChristofaro, P.E. A
Professional Engineer, Ohig

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EXHIBIT “E" .

File No. 21

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.197 Filed 01/17/25 Page 80 of 140

March 11, 1994

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EXHIBIT E~1

State of Michigan

County of Monroa (tare mage
Township of Frenchtown 1396 1020

FRENCHTOWN SQUARE

LEGAL DESCRIPTION

Perpetual Easement Two Over Access Road

Situated in the State of Michigan, County of Monroe, Township of Frenchtown,
and being part of Private Claims No. 65 and 353 of the Northwest and Northeast
Quarters of Section 29 and the Southwest Quarter of Section 20, Township 6
South, Range 9 East, and more fully described as follows:

Commencing for reference at a point at the intersection of the north line of
Beverly Park Subdivision (Plat Volume 7, Page 36) extended and the centerline
of Michigan Route 125;

Thence N 24° i5' 00" E, along the centerline of said Michigan Route 125, a
distance of 1876.70 feet to a point;

Thenca N 64° 07' 54" W, and leaving the centerline of said Michigan Route 125, ©
@ distance of 60.02 feet to a found iron bar in the northerly line of a parcel
of land now or formarly owned by Victor Bellestri (Liber 868, Page 212}, said
iron bar also being on the westerly right-of-way line of Michigan Route 125;

Thence on and along the westerly right-of-way line of said Michigan Route 125,
N 24° 15' 00°" E, a distance of 78.38 feet to a point;

Thence N 68° 35' 36" W, and leaving the westerly right-of-way line of said
Michigan Route 125, a distance of 254.98 feet to a point;

Thence N 65° 38' 55" W, a distance of 325.19 feet to a point;
Thence $ 68° 51' 28" W, a distance of 20.12 feat to a point;
Thence N 65° 46' 25" W, a distance of 9.28 feet to a point;

Thence S 24° 13’ 35" WW, a distance of 394.22 feet te a point, said point being
the F.C. of a curve the right;

Thence along the arc of a curve to the right, a distance of 94.25 feet to the
P.T. of said curve, said curve having a radius of 60.00 feet and a central
angle of 90° O00' 00";

Thence N 65° 46' 25" W, a distance of 581.71 feet to a point, said point being
the P.C. of a curve to the right; ‘

Thence along the are of a curve to the right, a distance of 78.54 feet to the
P.T. of said curve, said curve having a radius of 50.00 feet and a central
angle of 90° 00 00";

Page 1 of 3
EXHIBIT E~1

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.198 Filed 01/17/25 Page 81 of 140

Perpetual Easement Tuo Over Access Read ‘ Mareh 11, 1994

Frenchtown Square . (Be? 1396 1021

Legal Deseription

Thence N 24° 13! 35" E,.a distance of 230.01 feet to a point, said point being
the P.C. of a curve to the left; ,

Thenee along the are of a curve to the left, a distance of 59.76 feat to the
P.0.C. of gaid curve, said curve having a radius of 50.00 feat and a central
angle of 68° 28' 38", said P.0.C. being the TRUE PLACR OF BEGINNING for the
herein described parcel of land;

GE E 1Y

Thence continuing along the arc of said curve to the left, a distance of 18,78
feet to the P.T. of said curve, said curve havea a radius of 50.00 feet and a
central angle of 21° 31' 22";

Thence N 65° 46' 25" W, a distance of 342.40 feet to the F.C. of a curve to the
right;

Thence along the arc of a curve to the right, a distance of 109.96 feet to the
P.T. of said curve, said curve having a radius of 70.00 feet and a central = +
angle of 90° 00? 00";

Thence N 24° 13' 35" BE, a distance of 552.50 feet to the P.C. of a reverse
curve with the first curve bearing to the left; °

Thence along the arc of a curve to the left, a distance of 183.26 faet to the
P.R.C. of said curve, said curve having a radius of 210.00 feet and a central
angle of 50° 00° OO";

Thence along the arc of a curve to the right, a distance of 92.91 feat to the
P.T. of said curve, said curve having a radius of 248.91 feet and a central
angie of 21° 23' 10";

Thence N 04° 23° 15" W, a distance of 153.06 feet to a point on the souther Ly
right-of-way line of Mall Road, as recorded in Liber 1214, page 643;

Thence N 85° 36" 45" E, along the southerly right-of-way line of said -
Mall Road, a distance of 30.00 feet to a point;

Thence S$ 04° 23' 15" EB, and leaving the southerly right-of-way line of Mall
Road, a distance of 153.06 feet to the P.C. of a reverse curve with the first
curve bearing to the left;

Thance along the are of a curve to the left, a distance of 81.71 feet to the
P.R.C. of said curve, said curve having a radius of 218.91 feet and a central
angle of 21° 23' 16";

Thence along the arc of a curve to the right, a distance of 209.44 feet to the

P.T. of said curve, said curve having a radius of 240.00 feet and a central
angke of 50° 00' 00";

. Pape 2 of 3

EXHIBIT E-1

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.199 Filed 01/17/25 Page 82 of 140

ND eS aT

e

Perpetual Kasement Two Over Access Road ' March Li, 1994
Frenchtown Squara (Bee 1396 vs: 1022
Legal Description '

Thence S 24° 13' 35" W, a distance of 552.50 feet to the P.C. of a curve to the
left;

Thence along the arc of a curva to the left, a distance of 62.83 feet te the
P.T. of said curve, said curve having a radius of 40.00 feet and a central
angle of 96° 00' 60";

Thence 3 65° 46' 25" £, a distance of 360.69 feet to a point;
Thence $ 24° 08* 12" W, a distance of 33.49 feat and returning to the True

Place of Beginning and enclosing an area of 0.9897 acres of land, more or less.

Bearings are based on a record bearing of the centerline of Michigan Route 125.
This legal description is not an actual survey but is based on a survey as
performed by Poggemeyer Design Group, Inc. for the Dayton-Hudson Corporation on
August 5 of 1993. t

¥rench Square Partnership
Preparad by: Allison M. H. Carmichael
Approved by: David M. DeChristofaro, P.E., 2.3.

Professional Engineer, Ohio #46711
Professional Surveyor, Ohic 7490

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File No. 21 ly

- Page 3 of 3

EXHIBIT E-1

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.200 Filed 01/17/25 Page 83 of 140

(ME? 1396 36 1023

EXHIBIT "F°

TARGETS PARCEL AS PREPARED BY POGGEHEYER DESIGN GROUP, INC.

Drawing No. - Boundary Survey, dated 9-9-93,
Drawing No. 2 - Amended Site Plan, dated 9-14-93.
Drawing No. - Existing Topographic Plan, dated 7-21-93.

Drawing No.
Drawing No.
Drawing No.
Drawing No.
Drawing No.

Site Dimension and Utility Plans, dated 9-15-93.
- Site Grading and Landscape Plan, dated 9-14-93.
~ Water Detalis, datad 9-92,

- Details and Legal Descriptions, dated 9-14-93,

- Site Lighting Plan, no date. '

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GENERAL SITE DRAWINGS FOR MALL AS PREPARED BY POGCKHEYER DESIGN GROUP, INC.

Drawing No. 1 - Existing Building and Utilities, dated 12-19-86.
Drawing No. 2 - Topographic Plan for Frenchtown Square Mall, dated 12-21-86.
Drawing No. 3 ~ Site Dimension Plan, dated 8-28-87.

Drawing No. 4 - Site Grading Plan, dated 9-24-87,

Drawing No. 5 - Soil Erosion Control Plan, dated 12-30-87.

Drawing No. 6 - Gomposite Utility Plan, dated 8-28-87.

Drawing No. 7 - Storm Sewer Plan, dated 8-28-87.

Drawing No. 8 - Sanitary Sewer Plan, dated 8-17-87.

Drawing No. 9 - Water Line Plan, dated 7-13-87.

Drawing No. 10 - Telephone, Electric and Gas Line Plan, dated 9-2-87.
Drawing No. 11 - Storm Sewer Profile, dated 7-2-87.

Drawing No. 12 ~ Storm and Sanitary Sewer Profiles, dated 8-17-87.
Drawing No. 13 - Sanitary Sewer and Water Line Profiles, dated 6-18-87.
Drawing No. 14 ~ Storm Sewer and Water Line Profiles, dated 6-18-87.
Drawing No. 15 - Pavement Details and Cross Sections, dated 2-2-97.
Drawing No. 16 ~ Storm Details, dated 7-2-87.

Drawing No. 17 - Water Details, City of Monroe, dated 6-20-85.

Drawing No. 18 - Sanitary Details, Gity of Monroe, dated 6-20-85.

EXHIBIT "F"

Page 1 of 2

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.201 Filed 01/17/25 Page 84 of 140

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J.C. PENNEY SITR AS PREPARED BY POGGEMKYER DESIGN GROUP, INC.

Drawing No. 1 - Existing Topography, dated 3-18-88. .

Drawing No. 2 - Composite Utility Plan, dated 2-16-89.

Drawing No. 2A ~ Large Scale Composite Utility Plan, dated 9-11-88.
Drawing No. 3 ~ Grading and Soil Erosion Control Plan, dated 9-1-88.
Drawing No. 3A ~ Large Seale Grading Plan, dated 9-]-98.

Drawing No. 4 ~ Utility Profiles, dated 4-27-88,

Drawing No. 5 - Storm Details, dated 4-22-88,

Drawing No. 6 - Pavemant Details and Cross Sections, dated 2-2-87.
Drawing No. 7 - Sanitary Details, City of Monroe, dated 10-20-85.
Drawing No. 8 - Water Details, City of Monroe, dated 6-20-85.

PHARMOR SITE DRAWINGS AS FREPARED BY POGGENEYER DESIGN GROUP, INC.

Drawing No. 2 - Topographic Plan, dated 3-27-89.

Drawing No. 3 - Additional Topographic Plan, no date.
Drawing Na. 4 ~ Removal and Demolition Plan, dated 6-12-89,
Drawing No. 5 - Site Dimension Plan, dated 6-12-89.

Drawing No. 6 - Site Grading Plan, datad 8-28-89,

Drawing No. 7 - Soil Erosion Plan, dated 6-12-89.

Drawing No. 8 - Composite Utility Plan, dated 12-1-89.

Drawing No. 9 - Sanitary Sewar Plan, dated 12-1-89.
Drawing No. 10 - Storm Sewer Plan, dated 121-89,
Drawing No. 1] ~- Water Line Plan, dated 12-1-89.
Drawing No. 12 - Utility Profiles, dated 9-11-89,

Drawing No. 13 - Storm Details, dated 6-12-89. .
Drawing No. 14 - Pavement Details and Cross Sections, dated 2-2-87.
Drawing No. 15 - Sanitary Details, City of Monroe, dated 7-21-77.
Drawing No. 16 - Water Line Details, dated 12-9-71.

EXHIBIT "F"
Page 2 of 2

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.202 Filed 01/17/25 Page 85 of 140

EXHIBIT "G" ‘BF 1 396 vec 4025

Unit 395: Phar-Mor {Lease commenced 3/6/90, terminatas 3/31/2005,
with 2, 6-year options}

23. Fire or Other Casualty

A. Should the Demised Premises (or any part thereof) be damaged
or destroyed by fire or other casualty, Landlord shali, except as other-
wise provided herein, repair and/or rebuild the same with reasonable 441i-
gence. Landlord shall not be obligated to repair, rebuild or replace any
property belonging to Tenant or any improvements to the Demised Premises
furnished by Tenant. Unless this Lease is terminated as hereinafter pro-
vided, Tenant shall, at its cost and expense, repair, restore, redecorate
and refixture the Demised Premises and restock the contents thereof in a
manner and to at least a condition equel to that existing prior to such
damage or destruction, except for the building and improvements to be
reconstructed by Landlord as above set forth. In the event the Demised
Premises are completely or partially destroyed or so damaged by fire or
other casualty and this Lease is not terminated as hereinafter provided,
there shall be an abatement of Minimun Rent and other charges payable
under the terms of this Lease from the date of such damage or destruction
until forty-five (45) days after Landlord completes ‘its construction
obligations under the terms of this paragraph or whenever the Tenant
reopens for business, whichever first occurs. Xf Landlord does not
commence the repair and restoration work required pursuant to this section
within sixty (60) days after the date of such damage or destruction, or
the Demised Premises are not restored by Landlord in accordance with al)
of the provisions of this section within a period of nine {9} months after
the date of such damage or destruction, Tenant shall have the right, at
its sole discretion and option, to terminate this Lease by thirty (30)
days‘ written notice- to Landlord without waiving Tenant's rights to
damages for Landlord's failure to perform its covenants and obligations
hereunder. The rights granted to Tenant herein shall be in furtherance

and not in limitation of any other rights Tenant may have pursuant toe this .
Lease.

B. Notwithstanding anything to the contrary contained in the
_ preceding Section A or elsewhere in this Lease, Landlord at its option may
terminate this Lease on thirty {30} days' notice to Tenant, given within
ninety (90) days after the occurrence of any damage or destruction if the
Demised Premises be damaged or destroyed as a result of a risk which is
net covered by standard fire and extended coverage insurance.

C. If the Demised Premises are substantially destroyed by fire
or other causes during the last two (2) years of the term of this Lease to
the extent of more than One-third (1/3) of the gross Jeasable area
thereof, as determined by a registered architect or engineer acceptable ta
both Landlord and Tenant, either Landlord or Tenant shall have the Yight
to terminate this Lease as of the date of such damage or destruction by
giving written notice within thirty (36) days following such damage or
destruction, unless Tenant Shall agree to extend the term of this Lease

for an additional eix (6) year period by exercising an option pursuant ta
Clause 42 of this Lease, if one is available. | ° ’

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Page “1 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.203 Filed 01/17/25 Page 86 of 140

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Unit 395: Phar-Mor (cont.}

‘ D. In the event the building in which the Demised Premises are
situated, or other Shopping Center buildings, or the parking area or other
Common Areas adjunct thereto are destroyed or so damaged by fire or other
casualty go as to render more than twenty percent (20%) thereof unusable,
notwithstanding the fact that the Demised Premises are not so damaged,
Landiord.ehall advise the Tenant in writing within thirty (30) days after
the happening of such fire or other casualty whether or net it intends to
restore the buildings and/or parking areas sco damaged or destroyed,
Should the Landlord elect to restore, it shall commence guch restoration
promptly and diligently prosecute same to completion. In the event tLand-
jerd elects not to restore, the Landlord or Tenant may terminate this
Lease by giving the other party written registered notice of its intention
to de so. ‘In the event neither party gives such notice, this Leage shall
continue in full force and effect.

E. All rebuilding, ‘altering and repairing .of the MDenised
Premises shall result in a center substantially similar to the Shopping
Center prior to such destruction. .

Unit 200:  Eider-Beerman (Lease commenced 4/13/88, terminates ‘|
1/31/2008, with 4, 5-year options) . .

SEQTION 22 DAMAE.

(a) Should the pamised Premises (or any part thereon} os
damaged or destroyad by tire or other casualty dnaured under che
atandard fire and Faotalty insurance policy with approved standard
extended coverage endorsement applicable to the Damised Premises,
Landiord shall, except ae otherwina provided herein, and to. the
extent 4¢ recovers proceada trot such insurance, repair and/or
rebuild the eame within one {1} year from the date of such damage or
destruction. Landlord's Obligation hereunder shail be limited to che
building and innrovements originally provided by Landlord when the
Denised Premiaes ware originally constructed, Landlord aheli not oe
obligated to repair, ' rebuiid or repiace any property beionging co
Tenant or any dimprovenents to the Detised Premises furndened ay
Tenant. Unless this Lease is terminated by tahdiord as hereinafter
provided, Tenant ghall, at ite cost and expense, repair, restore,
redecorate and refixture the pendined Premises and reetock coe
contents thereof in = manner and to at deast a condition equa te .
that exdating prior to such damage or destruction, except for tie
building and improvements to be reconstructed by Landjord as above
fet forth, and the proceeds of 413 ingurance carried by Tenant on one

1 property, decorations and dnprovenents as wall as fixtures and
contents in the Demised Promises shell be held in truest by Tenans Jor
euch purposes, In the avent the Detiand Pramises are COBpietely oar
partinily destroyed or so damaged by fire or other casugity and chis
Lease ies not terminated as hereinefter provided, there anail ne aa

EXHIBIT "Gg"

Page 2 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.204 Filed 01/17/25 Page 87 of 140

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it 200: Bider-Beerman (cont. )}

abatement of rent: it being. understood and agreed that the: Tenanr
hall. at ite «ele discretion. coat and expenee, procure necessasy
ineurance to protect itoel? ageainet any interruption of its business,
In the event Landlord does not complete the rebudiding of the Jemssed
Premises within one (1) year from the date of such damage, Tenant say
cancei and terminate this Lease by giving Landierd thirty (30: days
prior written notice of ita intention to do so. Said eance. wat won
notice will be affective thirty (30) days after receipt theres! oy
Landlord.

(6) Notwithatanding anything to the contrary contained in che
preceding Section (aj or eleaewhere in this Leage, Landlard at its
option may terminate this Lease on tharty (30) days’ notice co
Tenant, given within ninety (90) aeye after the occurrence of any
damage of destruction 1f (1) the Demised Premises be damaged or
Geetroyed ae a result of a riek which 4s not covered hy Landiard's
ingurance: or (2) the Demiced Praniace tea damaged during the ijast
three (3) years of the tarm: or (3) the buliding of which the denised
Premises are &- part shall be damaged to the extent of fifty (50%) ar
more of the then monetary value thexeot (whether the Demised Premiges
be damaged or not): or (4) df any or all of the budidings or common
Areas of the Shopping Center aze damaged (whether or not the Demised
Premiges ara damaged) to such an extent that, in the sole judgment of
Landlord, the Shopping Genter cannot te operated ag an integrai unit.
in the event Landlord notifies Tenant that ie is cancelling this
Lesage undet the provisions of trem (2) avove, Tenant shali have = the
right to negate said cancellation privilege by exercising its
aptions, if availabla, under the terms of the Lease (aquai ot greater
in length to ten (10} yearg or more), by notifying Landlord within
thirty (30) daye of the recaipt of Landlord's notice to gancel that
it Je exercising said options.

(¢) Notwithetanding any language to the contrary contained in
the preceding Section (2} or eleewhere in thie Lease, Tenant, at ite
option, may terminate this Lease on thirty (30) days notice to
Landlord given within ninety (90) days after the Cccurrence of any
damage or destruction if the Demised prenises be substantially
damaged to the extent of fifty percent (50%) or more during the last
three (3) years of tha lease tern.

(d) Except to the extent epecificalily provided for in thie
Lease, none of the Tenant's obligations under any provisions of thig
Leade shall be affected. by any damage to or destruction of the
Demised premises by any cause whatsoever.

Unit 300: Sears {Lease commenced 4/30/88 j
with 3, 5-year options) , terminates 4/30/2003,

15. Damage or Destruction to Demised Premises

{a} If the Demised Premises is damaged or rendered unfit
for its accustomed use, either in part or totally, by fire, or any
casualty, during the first 10 years of the initial Term, Landlord
will, at its expense, promptly restore it to substantially its
condition immediately prior thereto.

EXHIBIT nan

Page 3 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.205 Filed 01/17/25 Page 88 of 140

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Unit 300: Sears (cont.)

(b} If the Demised Premises is partially destroyed or
rendered partially unfit for its accustomed use by fire or other
casualty, during the last 5 years of the initial Term, or at any time
during any extension Term, Landlord will, at its expense, promptly
restore it to substantially its condition immediately prior to the
casualty. Any damage or destruction to the improvements to the
Demised Premises which can be repaired for less than 25% of the
replacement cost of the building on the Demised Premises, will be
considered partially destroyed.

(c) If the Demised Premises is damaged, destroyed or
rendered unfit for its accustomed use by fire or other casualty
during the last 5 years of the initial Term or at any time during any
extension Term, and the cost to Landlord of repairing or restoring
the Demised Premises to its original condition exceeds 25% of the
replacement cost of the building on the Demised Premises, and if
Landlord or Tenant desires to cancel this Lease, then Landlord or
Tenant shall within 60 days of the casualty, by written Notice to
Tenant or Landlord, advise Tenant or Landlord, of Landlord's or
Tenant's, desire to cancel this Lease. Landlord will have the right
to cancel this Lease unless Tenant, within 30 days of receipt of the
Notice, exercises a 5-year option pursuant to the provisions of Part
I, Section 3 hereof. If Tenant exercises an option or if Landlord
does not advise Tenant of its desire to cancel this Lease pursuant to
the provisions of this Section, Landlord will, at its expense,
promptly restore the Demised Premises to substantially its condition
immediately prior to the fire or casualty. Notwithstanding the
provisions of this subsection, Landlord will have the right to cancel
this Lease within the 60-day period if no other Department Store is
open and operating or will be open and operating after restoration
(it being understood that the Department Store need not be obligated
to operate).

(a) If Landlord fails to repair or restore the Demised
Premises as required in this Section, Tenant will have the right upon
written Notice to Landlord, either to terminate this Lease or te
repair and restore the Demised Premises, and Landlord will pay to
Tenant, upon demand, Tenant's expense incurred in so repairing or
restoring the Demised Premises, plus interest thereon at the prime
rate of Chase Manhattan Bank. If Tenant does not receive such
payment from Landlord within 20 days of its demand, Tenant will have
the right to deduct the same from any installments of Percentage Rent
Payable until reimbursed in full.

(e) Lf the Demised Premises is partially or totally
destroyed by fire or other casualty or rendered totally or partially
unfit for its accustomed use by fire or other casualty, then until
the Demised Premises is restored and repaired or this Lease is
cancelled, the monthly Fixed Rent will be reduced in proportion to
the percentage of the building soa damaged or destroyed during each
month of the period.

EXHIBIT "G"

Page 4 of §

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.206 Filed 01/17/25 Page 89 of 140

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Unit 300: Sears (cont.)

Landlord shall be obligated to restore, under this Section 15,
only if Tenant has operated for business at some time during the 30
day period prior to such fire or other Casualty, unless Tenant has
ceased to operate during the said 30 day period due to a default by
Landlord under the terms of this Lease, in which event Landlord shail
still have the obligation to restore.

16. Damage or Destruction to the Entire tract

(a) In the event of the destruction or damage of the
buildings or other improvements on the Entire Tract or any part
thereof during vears 1 through 10 of Tenant's Term, and as often as
any Of these buildings or improvements during this period are destroyed
or damaged by fire or other casualty, Landlord will rebuild and
repair or replace ail store buildings leased and occupied at the time
of the casualty im question as well as the Common Areas, so that
there will be on the Entire Tract an enclosed, air-conditioned mall
and other improvements constituting an architecturally complete unit.

{ob} During years 12 through 15 and any extension terms, in
the event of destruction or damage to the buildings or other
improvements on the Entire Tract or any part thereof where the cost
to Landlord of repairing or restoring the Entire Tract to its original
condition is less than 10% of the replacement cost then the Landlord
shall have the obligation to repair and restore the damage. If the
damage however exceeds 30% of the replacement cost Landlord shall
have no obligation to rebuild and Landlord will have the right to
elect not to rebuild or repair the damaged or destroyed improvements
by giving written Notice to Tenant within 60 days of the casualty, of
Landiord's election to Tenant. However, in the event Landlord elects
not to rebuild or repair, Tenant shall have a period of 120 days from
receipt of the Notice from Landlord that Landlord has elected not to
rebuild or repair, to cancel this Lease effective as of a date within
2 years after receipt of the Notice. If howaver the damage to
the Entire Tract exceeds 10% but is less than 30% of the replacement
cost of all the buildings on the Entire Tract, Landlord will
have the right to elect not to rebuild or repair the damaged or
destroyed improvements by giving written Notice to Tenant within
60 days of the casualty, of Landlord's election to Tenant. However,
inthe event Landlord elects not to rebuild or repair, Tenant
Shall have a period of 120 days from receipt of the Notice from
Landlord that Landlord has elected not to rebuild or repair,
to cancel this Lease effective at any specified date within 2 years
after receipt of the Notice. In the alternative, Tenant will have
the right within the 120 day period, to require that Landlord
rebuild and repair or replace all the store buildings leased and
occupied at the time of the casualty and the Common Areas so that
there will be on the Entire Tract an enclosed air-conditioned mall
and other improvements constituting an architecturally complete unit
on the meeting of the following two conditions:

(1) Tenant exercises a S-year option, if any pursuant
to the provisions of Part I, Section 3 hereof, by notifying Landlord
in writing within the 120 day period; and

EXHIBIT "sg"

Page 5 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.207 Filed 01/17/25 Page 90 of 140

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Unit 300: Sears (cont.}

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(2) Tenant and two (2} or more other Department Stores
will be open and operating after the completion of restoration (the
Department Stores need not be obligated to operate and Tenant shali not
be obligated to operate).

{c) Any building or other improvements which Landlord is
required to rebuild or repair pursuant to this Lease will be rebuilt
and ready for occupancy within 18 months from the time of the loss or
destruction. Work, repair or reconstruction when once started by
Landlord will be carried through continuously to conclusion, but
unavoidable delays will not be deemed as an interruption constituting
default by Landlord.

{d) Nothing contained in this Section will require Landlord
to rebuild a Department Store building if Landlord is not required to
do so under the terms of Landlord's lease with the Department Store.

(e) Any mortgage renewals or replacements placed by
Landlord on the Entire Tract, or any agreement otherwise extending or
modifying them, will not be inconsistent with the provisions of this
Section. :

(f) Landlord shall be obligated to restore under this
Section 16, only if Tenant has operated for business at some time
during the 30-day period prior to such destruction or damage, unless
Tenant has ceased to operate during the said 30-day period due to a
Gefault by Landlord under the terms of this Lease, in which event
Landlerd shall still have the obligation to restore.

{g) If any buildings are net required to be rebuilt
pursuant to this Section, the properties will be cleared and left in
a sightly condition and landscaped or paved for parking as would be
appropriate.

Unit 650: _3,C. Penney (Lease commenced 10/29/88, termi Z
11/30/2003, with 4, 5-year options) erminates

DAMAGE A, If the Demised Premises, the appurtenances

CLAUSE thereto or the Common Facilities shall, previous to the
beginning of the term hereof or during the term hereof,
be damaged or destroyed by fire or other casualty: or any
cause whatsoever, either in whole or in part, Landlord
shall forthwith remove any resulting debris and repair
and/or rebuild the damaged or destroyed structures and
other -imprevements, including any improvements or
betterments made by Landlord or Tenant, in accordance
with the plan pursuant to which such property was
constructed. Until such time as the bemised Premises
and Common Facilities are repaired, rebuilt and put in
good and tenantable order (provided damege or
destruction to the Common facilities. in Tenant's

EXHIBIT "Gg" '
_ Page 6 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.208 Filed 01/17/25 Page 91 of 140

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Unit 650: J.C. Penney {cont.)

judgment reasonably exercised, affects Tenant's
operation), the rents hereby reserved, or 4 fair and
just proportion thereaf according to the nature and
extent of the damage sustained, shall be abated; and if
Tenant shall be paying contingent rent hereunder based
an the amount of Net Retail Sales made upon the Demised
Premases the annual sales volume figure(s) set forth in
the Rent Rider attached hereto used in computing such
rent shall be reduced for the Lease Year(s} inuplved
proportionately with the reduction in the annual Fixed
rent for such year(s). If Tenant shall have. paid rent
in advance, Landlord shall immediately repay to Tenant
an amount equal to that portion of rent so paid in
advance, payment of which is abated. If Landlord, for
any reason whatsoever (subject to Unavaidoble Delays
resulting from adjustment of the claim by Landlord with
its insurance carrier), fails to commence such
restoration work within 90 days from the date when such
damage or destruction occurred or fails thereafter to
proceed diligently to complete such repair work and/or
rebuilding, Tenant, in addition to such other rights and
remedics as may be accorded Tenant by law, shall have
the right and cption to terminate the term of this lease
by giving Landlord notice of Tenant's election sa to do
at any time prior to the completion of such repairs or
rebuilding provided Landiord shall not then be actively
undertaking such restoration work, and upon such notice‘
being given the term of this Iease shall automatically
terminate and end. Anything herein to the contrary
notwithstanding, (i} if the Gomised Premises should be
damaged or destroyed by fire or other cause to such an
extent that the cost of restoration would exceed 50% of
the amount it would have cost to replace the Oemised
Premises in their entirety at the time such damage or
destruction took place, and (ii} if at the time of such
damage or destruction the term of this lease is
scheduled to expire within a-period of five years,
either Landlord or Tenant shall have the right and .
option to terminate the term of this lease by giving the
other party to this lease notice of such election within
60 days after such damage or destruction shall have
taken place, and if such notice is given the term of
this lease shall terminate as of the date Tenant vacates
the Demised Premises, which date shall be not later thon
90 days after the giving of such notice; provided, '
however, that Tenant shall have the right to nullify any
such motice of termination given by Landlord if at the
time such notice is given an option herein granted
Tenant to extend the term of this lease for an
additional period of five years or more remains
unexercised and Tenant shell exercise such option within
60 days after the receipt of such notice from Landlord,
in which event Landlord's notice of such termination
Shall be of no force or effect and Landlord shail
perform the restoration and other work required of
Landlord under the terme of this Paragraph fA.

8. If during the term hereof the Enclosed Mall or
any of the other budldings located within the Entire
Premises shall be damaged or destroyed by fire or other |
casualty or any cause whatsoeucr, cither.in whole or in

EXHIBIT “Gg”

Page 7 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.209 Filed 01/17/25 Page 92 of 140

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Unit 650: J.C. Penney (cont.)

part, Landlord shall repair and/or rebuild the same
promptly provided, however, that Landlord shail not be
obligated to rebuild any such Building to more than 75%
of its pre-existing Floor arena. If Landlord shall fail
to commence such restoration work within six months
after the date when such damage or destruction occurred
or fall thereafter to proceed diligently to complete
such repair work and/or rebuilding, Tenant, in addition
to such other rights and remedies as may be accorded
Tenant by law. shail have the right and option to
terminate the term of this lease by giving Landlord
notice of Tenant's election go to do at any time prior
to completion of such repairs or rebuilding provided
Landlord shall not then be actively undertaking such
restoration work, and upon such notice being given the . i]
torm of this lease shall automatically terminate and end.

Page 8 of 8

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.210 Filed 01/17/25 Page 93 of 140

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EXHIBIT "nH"
SIGN CRITERIA

l. There shall be no flashing, rotating, exposed light or
moving signs or markers of any type.

2. There shall be no signs painted on the exterior surface of
any building except rear service door identification signs.

3. There shall be no free-standing or pylon signs other than as
provided in Section 5.3 of this OEA captioned "Signs".

4, All signs of Mall Store Buildings which front on the
enclosed mall shall be (i) not more than four feet (4*) in
height, (ii) approximately flush with the wall of the
building to which affixed, (i111) of a length which does not
exceed 80% of the linear frontage of the atore upon which it:

fronts, and (iv) of a design which is uniform with other
signs similarly placed.

5. Signa of Mall Store Buildings which are under building
canopies shall be (i) at right angles to the store front,
(ii) of a design which is uniform with other signs similarly
placed under building canopies, and (iii) not more than four

and one-half feet (4-1/2'}) wide and twelve inches {12")
high.

6. There shall be no roof-top signs, except that signs affixed
to the sides of mechanical equipment penthouses on the

Target Building and any Major Store Building shall not be
considered roof-top signs.

7. No signs will be pexmitted at the rear of any Mall Store
Buildings, except occupants of the Mall Store Buildings
having exterior customer entrances, occupants located
immediately adjacent to an enclosed mall entrance and each

Major Store Building may maintain signs displaying its name
only.

EX8 IBLT ft H "

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. JC. PENNEY

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.213 Filed 01/17/25 Page 96 of 140

DOCUMENTS REQUIRING SIGNATURE

TDENTITY OF DOCUMENT: omis Note, Option Agreeme lOEA \

PROJECT NAME: To Monroe : LOCATION:

The attached document is submitted at the request of:

Dave Cassman
Title: Reg. Real Estate Mgr.
Purpose of this document is: to allow Target to purchase 9.9 acres of property for
the purchase price of $3,150,000.00. (Allocation: $2,835,000.00 for the building,
$315,000.00 for the land and existing site improvements.) $10,000.00 deposit
required. Option term continues until July 31, 1996.

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Richard Summerlee, Manager
Capital Investment Analysis

APPROVED BY:

Fd Bierman, Vice President .
Real Estate

Bob McMahon, Sr. Vice President
Property Development

EXECUTED BY: t 4b ,

Title: /

ATTESTED BY: JED

Title: /

Please forward the document to the next person addressed. If you are the last
person listed, please return to me promptly after signing. Thank you.

Date:_7/12/94 Name; Ju. Miller

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et

ATTACHMENT

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.214 Filed 01/17/25 Page 97 of 140

Exhibit 4
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Covenant Deed

TARGET CORPORATION, 2 Minnesota corporation, formerly known as Dayton Hudson
Corporation, whose address is 1000 Nicollet Mall, TPN12, Minneapolis, Minnesota 55403
(“Grantor”), conveys, grants, bargains, remises, aliens, and confirms to Richmond Main, LLC,
a Michigan limited liability company, whose address is 56684 Hartley Drive West, Shelby
Township, MI 48326 (“Grantee”), the premises in the township of Frenchtown, County of
Monroe, State of Michigan, described as:

See Exhibit A attached hereto and made a part hereof

with all the tenements, hereditaments, and appurtenances to it, for One Million One Hundred
Seventy Thousand and no/100ths Dollars ($1,170,000.00), subject to real estate taxes and
installments of special assessments not yet due and payable, all matters of record, all matters that
would be disclosed by an accurate survey of the Property, and all acts of Grantee. Grantor
covenants and agrees that Grantor has not previously done or committed or willingly suffered to
be done or committed any act, matter, or thing that would cause the Property or any part thereof
to be charged or encumbered in title, estate, or otherwise.

Grantor grants to Grantee the right to make divisions under section 108 of the Land Division Act,
Act No 288 of the Public Acts of 1967, as amended, Grantor intends to transfer to Grantee the
right to make all divisions, bonus divisions, and redivisions of the property that the Grantor may
have under the act.

This property may be located within the vicinity of farmland or a farm operation. Generally

accepted agricultural and management practices that may generate noise, dust, odors, and other
associated conditions may be used and are protected by the Michigan Right to Farm Act.

(Signature Page Follows)

MONROE COUNTY TREASURER
TAX CERTIFICATE # E - 4685
Date:05/13/2021 Clerk:GS

MANROE COUNTY REGISTER ME MEENS HAC aWeIRA7FENA TNE S
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(Signature Page — Covenant Deed)

Dated: May La, 2021 TARGET CORPORATION

By ZZ=
Name: Michael Seaman

Title Senior Director Reali Estate

STATE OF MINNESOTA  )
) ss.
COUNTY OF HENNEPIN  }

The foregoing instrument was acknowledged before me this L day of May, 2021,
by Michael Seaman, Senior Director Real Estate of Target Corporation, a Minnesota

corporation, on behalf of the corporation. i Uo

Notary Public
Drafted By:
Jude Hockley
Target Corporation LISA C. WELLS

#4) Notary Public-Minnesota
My Commission Expires Jan 31 12023

1000 Nicollet Mail, TPS3155
Minneapolis, MN 55403

When-Reeorded- Reta To:
Richmond Main, LLC
56684 Hartley Drive West
Shelby Township, MI 48326 wen ror round (UIE)
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Richmond Main, LLC Minnaapolie MN Bey
56684 Hartley Drive West _ 3
Shelby Township, MI 48326

Recording Fee: Transfer Tax

MONROE CORNTY REGISTER OF DEENS NAG wMI1RATING FOF 2
murriuinG@ge 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.217 Filed 01/17/25 Page 100 of 140

Exhibit A
Legal Description

Situated in part of the Township of Frenchtown, County of Monroe, State of Michigan and
being part of Private Claims No.65 and 353 of the Northwest and Northeast quarters of
Section 29 and the Southwest quarter of Section 20, Township 6 South, Range 9 East, and
more fully described as follows:

Commencing for reference at a point at the intersection of the North line of Beverly Park
Subdivision (Plat Volume 7, Page36) extended and the centerline of Michigan Route 125,
thence North 24 degrees 15 minutes 00 seconds East, 1876.70 feet on and along said
centetline to a point; thence North 64 degrees 07 minutes 54 seconds West, 60.02 feet toa
foundiron bar in the Northerly line of a parcel of land now or formerly owned by Victor
Bellestri (Liber 868, Page 212); thence on and along the Westerly right-of-way line of said
Michigan Route 125 North 24 degrees 15 minutes 00 seconds Hast,

78,38 feet to the true point of beginning, for the herein described parcel;

thence North 68 degrees 35 minutes 36 seconds West, 254.98 feet to a set iron rod;

thence North 65 degrees 38 minutes 55 seconds West, 325.19 feet to a set iron rod;

thence South 68 degrees 51 minutes 28 seconds West, 20.12 feet to a set iron rod;

thence South 23 degrees 51 minutes 28 seconds West, 521.51 feet to a found general land office
monument, passing at 35.21 feet a found iron rod marking the Northerly corner of lands now or
formerly owned by said Victor Bellestri;

thence North 62 degrees 07 minutes 30 seconds West, 281.96 feet to a found general land
office monument;

thence North 62 degrees 18 minutes 27 seconds West, 276.23 feet to a found general land
office monument;

thence North 64 degrees 54 minutes 25 seconds West, 178.35 feet to a set iron rod;

thence North 24 degrees 08 minutes 12 seconds Hast, 498.76 feet to a set railroad spike;thence
South 65 degrees 46 minutes 25 seconds East 409.48 feet to a set railroad spike;

thence North 24 degrees 13 minutes 35 seconds East, 33.92 feet to a set railroad spike;
thence South 65 degrees 48 minutes 58 seconds East, 284.11 feet to a set iron rod;

thence North 24 degrees 33 minutes 42 seconds East, 35.70 feet to a set iron rod;

thence South 65 degrees 38 minutes 55 seconds East, 376.75 feet to a set fron rod;

thence South 68 degrees 35 minutes 36 seconds Hast, 256.66 feet to a set iron rod in the
Westerly right-of-way of saidMichigan Route 125;

thence on and along said right-of-way line, South 24 degrees 15 minutes 00 seconds West,
70,09 feet to the place of beginning.

Tax Parcel No, 07-065-093-10

MONROE MOLINTY REGISTER AF NEFA MAM ONOIRA7ONG ANE?
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.218 Filed 01/17/25 Page 101 of 140

Exhibit 5
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.219 Filed 01/17/25 Page 102 of 140

Monroe, MI/TO900
BILL OF SALE

INOW ALL MEN BY THESE PRESENTS, that concurrently with the execution and
delivery hereof, TARGET CORPORATION, a Minnesota corporation (“Seller”) is conveying to
RICHMOND MAIN, LLC, a Michigan limited liability company (“Purchaser”), by that certain
Special Warranty Deed of even date herewith (the “Deed”), all of Seller’s right, title and interest
in the Target store building (the “Building”) located on the real property located at 2121 North
Monroe Street, Monroe, Michigan, and legally described on Exhibit A attached hereto (the “Real
Estate”).

NOW, THEREFORE, in consideration of the receipt of TEN DOLLARS ($10.00) and
other good and valuable consideration, in hand paid by Purchaser to Seller, the receipt and
sufficiency of which are hereby acknowledged by Seller, Seller does hereby quitclaim and convey
unto Purchaser all of Seller’s tights, if any, in any personal property, including tangible personal
property, and fixtures located in the Building as of the date hereof (the “Personal Property”).

TO HAVE AND TO HOLD the same unto Purchaser, its successors and assigns, forever.

The Personal Property is hereby conveyed and quitclaimed and this Bill of Sale is made,
and is accepted by Purchaser, on an “AS IS, WHERE IS” basis without covenants, representations
or warranties of any kind, whether expressed or implied, and all warranties that might have existed
or been applied under common law are hereby excluded, except that Seller represents and warrants
to Buyer that Seller is the owner of said Personal Property and that the Personal Property is free
of any monetary encumbrances.

This Bill of Sale shall inure to the benefit of and be binding upon the parties hereto, their
successors and assigns.

IN WITNESS WHEREOF, Seller has caused this Quitclaim Bill of Sale to be executed as
of Maa (A _, 2021.

SELLER:

TARGET CORPORATION,
a Minnesota corporation

BY: wes 2
Name: Michael Seaman
Title: Senior Director Real Estate

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.220 Filed 01/17/25 Page 103 of 140

EXHIBIT A TO BILL OF SALE
LEGAL DESCRIPTION

Situated in part of the Township of Frenchtown, County of Monroe, State of Michigan and
being part of Private Claims No.65 and 353 of the Northwest and Northeast quarters of
Section 29 and the Southwest quarter of Section 20, Township 6 South, Range 9 East, and
more fully described as follows:

Commencing for reference at a point at the intersection of the North line of Beverly Park
Subdivision (Plat Volume 7, Page36) extended and the centerline of Michigan Route 125;
thence North 24 degrees 15 minutes 00 seconds East, 1876.70 feet on and along said
centerline to a point; thence North 64 degrees 07 minutes 54 seconds West, 60.02 feet toa
foundiron bar in the Northerly line of a parcel of land now or formerly owned by Victor
Bellestri (Liber 868, Page 212); thence on and along the Westerly right-of-way line of said
Michigan Route 125 North 24 degrees 15 minutes 00 seconds East,

78.38 feet to the true point of beginning, for the herein described parcel;

thence North 68 degrees 35 minutes 36 seconds West, 254.98 feet to a set iron rod;

thence North 65 degrees 38 minutes 55 seconds West, 325.19 feet to a set iron rod;

thence South 68 degrees 51 minutes 28 seconds West, 20.12 feet to a set iron rod;

thence South 23 degrees 51 minutes 28 seconds West, 521.51 feet to a found general land office
monument, passing at 35.21 feet a found iron rod marking the Northerly corner of lands now or
formerly owned by said Victor Bellestri;

thence North 62 degrees 07 minutes 30 seconds West, 281.96 feet to a found general land
office monument;

thence North 62 degrees 18 minutes 27 seconds West, 276.23 feet to a found general land
office monunient;

thence North 64 degrees 54 minutes 25 seconds West, 178.35 feet to a set iron rod;

thence North 24 degrees 08 minutes 12 seconds East, 498,76 feet to a set railroad spike;thence
South 65 degrees 46 minutes 25 seconds East 409.48 feet to a set railroad spike;

thence North 24 degrees 13 minutes 35 seconds East, 33.92 feet to a set railroad spike;

thence South 65 degrees 48 mimuites 58 seconds East, 284.11 feet to a set iron rod;

thence North 24 degrees 33 minutes 42 seconds East, 35.70 feet to a set iron rod;

thence South 65 degrees 38 minutes 55 seconds East, 376.75 feet to a set iron red;

thence South 68 degrees 35 minutes 36 seconds East, 256.66 feet to a set iron rod in the
Westerly right-of-way of saidMichigan Route 125;

thence on and along said right-of-way line, South 24 degrees 15 minutes 00 seconds West,
70.09 fect to the place of beginning.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.221 Filed 01/17/25 Page 104 of 140

Exhibit 6
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MONROE COUNTY, MI
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ASSIGNMENT AND ASSUMPTION OF
OPERATION AND EASEMENT AGREEMENT

THIS ASSIGNMENT AND ASSUMPTION OF OPERATION AND EASEMENT
AGREEMENT (“Assigument aud Assumption”) is made this Lata day of May, 2021 (the
“Effective Date”), by and between TARGET CORPORATION, a Minnesota corporation
(“Assignor”), and RICHMOND MAIN, LLC, a Michigan limited liability company (“Assignee”).

RECITALS:

A: Assignor has conveyed that certain real property described on Exhibit A attached
hereto and made a part hereof (the “Target Tract”) as of the date hereofto Assignee.

B. The Target Tract is subject to the terms and provisions of that certain Operation and
Easement dated August 3, 1994, recorded in the office of the Register of Deeds for Monroe County,
Michigan, on August 4, 1994, in Liber 1396, Page 09 (as it may be amended and supplemented, the
“OR, A”);

C. Assignor desires to assign, transfer and convey all of Assignor’s right, title and
interest in, to-and under the OEA to Assignee upon the terms hereinafter set forth.

EB. Assignee accepts the assignment of the OBA, including any claims, causes of
actions, or defenses stemming from or related to the OEA, and as such hereby forever releases and
discharges Assignor from any further obligations and liabilities thereunder.

NOW, THEREFORE, in consideration of Assignor’s conveyance of the Target Tract to
Buyer and for no other consideration, the parties hereto do hereby agree as follows:

1. From and after the Effective Date, Assignor hereby assigns, transfers and conveys
to Assignee any and all of Assignor’s right, title and interest in, to and under the OBA, including, -
without limitation, transfer of Approving Party status for the Target Tract, to have and to hold the
game unto Assignee, its successors and assigns, subject to the terms, covenants and conditions

' contained in the OFA.

MONROE COUNTY REGISTER OE NFENS ANTM ANIRIVAIN 4 AFA
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same unto Assignee, its successors and assigns, subject to the terms, covenants and conditions
contained in the OBA.

2. This Assignment and Assumption shall be binding upon, and shall inure to the
benefit of, the parties hereto and their respective successors and assigns.

3. This Assignment and Assumption may be executed in counterparts, each of which
shall be deemed an original and all of which, taken together, shall constitute one instrument.

4, The recitals to this Assignment and Assumption are hereby incorporated into and
made a part of this agreement.

[signature pages follow]

MORNRAR COUMTY REGISTER OF MFENS ANG BIRT INES
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SIGNATURE PAGE TO
ASSIGNMENT AND ASSUMPTION OF
OPERATION AND RASEMENT AGREEMENT

IN WITNESS WHEREOF, the parties hereto have executed this Assignment and
Assumption as of the date first above written.

ASSIGNEE:

’ RICHMOND MAIN, LLC
A Michigan limited liability company

a
By: Lo
Name:_\Verdl iy. obbraat nd?
Title: /UgynAer2-

STATE OF )
) ss,
COUNTY OF )

The foregoing instrament was sworn to and acknowledged before me this “9 day of
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, 2021, by the Mensa of
Richmond Main, LLC, a Michigan limited liability company, by and on behalf’ of the limited liability

company.
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Target Corporation oy e et -
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Minneapolis, MN $5403/T1173

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SIGNATURE PAGE TO
ASSIGNMENT AND ASSUMPTION OF
OPERATION AND EASEMENT AGREEMENT

IN WITNESS WHEREOF, the parties hereto have executed this Assignment and
Assumption as of the date first above written.

ASSIGNOR:

TARGET CORPORATION,
a Minnesota corporation

oy: __
Name: Michiel Seaman

Title: Senior Director Real Estate

STATE OF MINNESOTA }
) 85,
COUNTY OF HENNEPIN )

The foregoing instrument was sworn to and acknowledged before me this 6th day of May, 2021,
by Michael Seaman, the Senior Director Real Estate of Target Corporation, a Minnesota corporation, by

and on behalf of said corporation. dnc

Notary Public

LISA C. WELLS

4 Notary Public-Minngsota
My Commission Explras Jan 31, 2029

MONROE COUAITY REGISTER OE NFENS NAC NDIRATOAN AOE
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EXHIBIT A TO ASSIGNMENT AND ASSUMPTION
LEGAL DESCRIPTION

Situated in part of the Township of Frenchtown, County of Monroe, State of Michigan and
being part of Private Claims No.65 and 353 of the Northwest and Northeast quarters of
Section 29 and the Southwest quarter of Section 20, Township 6 South, Range 9 East, and
more fully described as follows:

Commencing for reference at a point at the intersection of the North line of Beverly Park
Subdivision (Plat Volume 7, Page36) extended and the centerline of Michigan Route 125,
thence North 24 degrees 15 minutes 00 seconds East, 1876.70 feet on and along said
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foundiron bar in the Northerly line of a parcel of land now or formerly owned by Victor
Bellestri (Liber 868, Page 212); thence on and along the Westerly right-of-way line of said
Michigan Route 125 North 24 degrees 15 minutes 00 seconds East,

78,38 feet to the true point of beginning, for the herein described parcel;

thence North 68 degrees 35 minutes 36 seconds West, 254.98 feet to a set iron rod;

thence North 65 degrees 38 minutes 55 seconds West, 325,19 feet to a set iron rod;

thence South 68 degrees 51 minutes 28 seconds West, 20.12 feet to a set iron rod;

thence South 23 degrees 51 minutes 28 seconds West, §21.51 feet to a found general land office
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thence North 62 degrees 18 minutes 27 seconds West, 276.23 feet to a found general land
office monument;

thence North 64 degrees 54 minutes 25 seconds West, 178.35 fect to a set iron rod;

thence North 24 degrees 08 minutes 12 seconds East, 498.76 feet to a set railroad spike;thence
South 65 degrees 46 minutes 25 seconds East 409.48 feet to a set railroad spike;

thence North 24 degrees 13 minutes 35 seconds East, 33.92 feet to a set railroad spike;

thence South 65 degrees 48 minutes 58 seconds East, 284.11 feet to a set iron rod;

thence North 24 degrees 33 minutes 42 seconds Hast, 35.70 feet to a set iron rod;

thence South 65 degrees 38 minutes 55 seconds East, 376.75 feet to a set iron rod;

thence South 68 degrees 35 minutes 36 seconds East, 256.66 feet to a set iron rod in the
Westerly right-of-way of saidMichigan Route 125;

thence on and along said right-of-way line, South 24 degrees 15 minutes 00 seconds West,
70.09 feet to the place of beginning.

Tax Parcel No. 07-065-093-10

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.227 Filed 01/17/25 Page 110 of 140

Exhibit 7
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.228 Filed 01/17/25 Page 111 of 140

KAREN INFANTE ALLEN
TRUMBULL CO CLERK OF COURTS
2022 CV 00056 PIKE

FILED: 10/11/2022 08:28 AM

IN THE COURT OF COMMON PLEAS

— GENERAL DIVISION —
TRUMBULL COUNTY, OHIO
FRENCHTOWN SQUARE PARTNERSHIP ) CASE NO. 2022 Cv 00056
Plaintiff
VS. } JUDGE PETER J. KONTOS
RICHMOND MAIN LLC }
Defendant } JUDGMENT ENTRY

This matter is before the Court on the Defendant Richmond Main, LLC dba
Quality Auto Parts’ Motion to Dismiss Plaintiff's Complaint, which this Court converted to
a Mation for Summary Judgment as the parties included extraneous materials in their
briefs which the Court was nat permitted to consider in a Motion to Dismiss. The Court
has considered the Motion, the response, the reply, the evidence, and the applicable
law.

On July 27, 1994 Dayton Hudson Corporation (hereinafter referred to as
“Target”) and Plaintiff Frenchtown Square partnership entered Into an Operation
Easement Agreement (“OEA") for a portion of the premises generally described as
Frenchtown Square Mall in Monroe, Michigan. Target is and was a Minnesota
corporation with its headquarters in Minnesota. There was no choice of venue or
personal jurisdiction clause in the OEA.

On May 12, 2021 Defendant Richmond Main, LLC dba Quality Auto Parts

(“Richmond”) entered into an Assignment and Assumption of Operation and Easement
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.229 Filed 01/17/25 Page 112 of 140

Agreement between Target and Richmond. The effect of the Assignment and
Assumption Agreement was the transfer and conveyance of Target's rights and
obligations under the OEA to Richmond.

Richmond is a Michigan LLC formed for the specific purpose of acquiring the
assignment of the OEA from Target. Richmond does not engage in any business within
the state of Ohio. Richmond claims it had no direct dealings with Plaintiff until after
the assignment was executed and delivered.

The purpose of the OEA is for the reciprocal grant of ingress, egress, parking and
utilities easements over Richmond Main and Plaintiff's adjoining parcels in Michigan. The
only payments in terms of the OEA are for Richmond to pay certain common area
maintenance (“CAM”) charges to Plaintiff, and for the reimbursement of costs to cure
any default under the OEA. Richmond has never made any payment of the CAM
charges to Plaintiff or other insurance payments as required under the OEM.

Richmond claims that it does not avail itself of the privileges and opportunities of
doing business in Ohio and has not purposely availed itself of that right in Ohio
regarding Frenchtown Square Mall. Richmond does admit that has communicated with
representatives of Plaintiff regarding the removal of snow or cutting the grass, but
asserts that all those activities were to accur in Michigan. Richmond claims that this
Court does not have personal jurisdiction over it and has fited this Motion to Dismiss
pursuant to Civ. R. 12(B){2).

In determining whether this Court has personal jurisdiction over an out of state

Defendant, the court must first determine whether the defendant's conduct falls within
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.230 Filed 01/17/25 Page 113 of 140

Ohio's long arm statute R.C. 2307.382 or Civil Rule 4.3. Fraley v. Estate of Oeding, 138
Ohio St. 3d 250, 252 (2014). If the conduct does fall within elther of those, the court
must then consider whether the assertion of jurisdiction over the nonresident defendant
would deprive the defendant of due process of law under the Fourteenth amendment.
Jd, A Motion to Dismiss places the burden upon the plaintiff to show that the trial court
has personal jurisdiction over the non-resident defendant. Kauffman Racing Equip., LLC
v. Roberts, 126 Ohio St. 3d 81, 85 (2015).

R.C. 2307.382 provides that a Court may exercise personal jurisdiction over a
person arising out of, inter alia, that person’s transacting business in this state.! Civ. R.
4.3 mirrors the long arm statute and provides for service of process to be made upon a
person outside of the State of Ohio when the claim arose from the person’s transacting
any business in this state.

Determining whether a nonresident is “transacting any business” in Ohio Is a
case-by-case evaluation. United States Sprint Communications v. K's Foods, 68 Ohio
ST. 3d 181, 185 (1994). The term “transact” encompasses “ ‘to carry on business’
“and” ‘to have dealings,’ ” and is“ ‘broader * * * than the word “contract” *.” Kentucky
Oaks Mall Co. v. Mitchell's Formal Wear, Inc. (1990), 53 Ohio St.3d 73, 75, 559 N.E.2d
477. Personal jurisdiction does not require physical presence in the forum state. Ia;
see, also, Ucker v. Taylor(1991), 72 Ohio App.3d 777, 780, 596 N.E.2d 507.

“Frequent mail and telephone communications between two companies in
different states are considered commercial contacts and are not “ ‘purposefully directed’

" to Ohio in a way that would lead the foreign corporation to realize that it could be

1 The definition of person includes a corporation. R.C. 2307.011
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.231 Filed 01/17/25 Page 114 of 140

haled into an Ohio court.” Auskin v. Pappse, 2000 WL 895598 (11 Dist., 2000) citing
Friedman v. Speiser, 56 Ohio App.3d 11, 14, 565 N.€.2d 607, (1988).

Plaintiff's complaint asserts that Article 4.2(C) of the OEA obligates Defendant to
pay to Plaintiff in Ohio an annual Common Area Maintenance charge payable in monthly
installments, on the first day of each month during the term of the OEA. Defendant
never actually made any of the CAM payments required by the OFA.

Defendant asserts that as a Michigan Limited Liability Company, it was doing
business in Michigan, involving Michigan rea! estate, and this Court has no personal
jurisdiction over them. Richmond asserts that it had no other contacts with Ohio in this
dispute beyond responding to Plaintiff's demands and hiring counsel, and had no
contact in Ohio beyond phone calls, emails and mailings. Defendant further asserts that
it does not engage in the sale of any goods or services in the State of Ohio.

Plaintiff asserts that, as long as it remains the owner of the Mall of Monroe and
an Ohio resident, no one can be a good faith party to the OEA and not have at feast
monthly contacts in Ohio. Plaintiff cites to Article 6.4 of the OEA that required Target,
and now by assignment Defendant Richmond, to provide “fajlll notices, demands,
statements and requests (“notice”) required or permitted to be given under this OFA” to
FSP in Ohio. Examples of required notices under the OEA include:

e Notice of changes or modification of the common area Section 2.1(B){iii)(e)
e Notice of closing off portions of the cornmon area — Section 2.1(B)(iv)
e Notice of need for easements Section 2.2(A) and (B).

e Notice of change of address Section 6.4.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.232 Filed 01/17/25 Page 115 of 140

In addition to these notices, the OEA required Target, and now by assignment,
Richmond to make certain payments to Plaintiff in Ohio, including payments for general
liability insurance, the CAM fees, and interest on any past due sums. Plaintiff asserts
that Defendant Richmond is disingenuously using its intentional breaches of the OEA to
avoid personal jurisdiction.

Plaintiff further detailed telephone and email communications between Richmond
Main’s Nathir Hermez and Plaintiff's representative Timothy Matune as proof of the
contacts with Ohio. There were multiple negotiations prior to assumption of the OEA as
well as contacts after the assumption.

Here, reviewing all the evidence presented, the Court finds that this Court may
exercise personal jurisdiction over Defendant Richmond Main because Defendant was
“transacting business” in Ohio, As Plaintiff points out, the OFA is an active two-way
contract, and Plaintiff's business office has always been in Ohio. The phrase
“transacting any business in this state” as contemplated in R.C. 2307.382 and Civ. R.
4.3(A)(1) has been given a broad interpretation and is meant to be applied in a liberal
manner. Goldstein v. Christiansen, 70 Ohio St. 3d 232, 236. By accepting the
assignment of the OEA with Plaintiff, Defendant was necessarily conducting business
with Plaintiff. Richmond may not use its own deliberate breaches of the OEA to avoid
personal jurisdiction in Ohio. In an analogous case, the Ohio Supreme Court has held
that “[a] commercial nonresident lessee, for purposes of personal jurisdiction, is
“transacting any business” within the plain and common meaning of the phrase, where

the lessee negotiates, and through the course of dealing becomes obligated, to make
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.233 Filed 01/17/25 Page 116 of 140

payments to its lessor in Ohio.” Kentucky Oaks Mall Co. v. Mitchells Formal Wear, 53
Ohio ST. 3d 73, 76. Here the Defendant was obligated through the course of dealing to
make payments to Plaintiff in Ohio.

Having determined that Defendant's conduct meets the requirements of R.C.
2307.382 and Civ. R. 4.3, the court must now consider whether the assertion of
personal jurisdiction by an Ohio court over Defendant comports with the Due Process
Clause of the Fourteenth Amendment. The Supreme Court of the United States
considered personal jurisdiction in the context of due process considerations in the
renowned case of Jnternational Shoe Co. v. Washington, 326 U.S.310, 66 S. Ct. 154
(1945). The International Shoe Court heid that a state may assert personal jurisdiction
over a nonresident defendant if the nonresident has “ * * * certain minimum contacts
with it such that maintenance of the suit does not offend ‘traditional notions of fair play
and substantial justice.’ ” (Citation omitted.) Id. at 316, 66 S.Ct. at 158.

The Court finds that in assuming the OEM agreement and in the attendant
negotiations, the Defendant purposefully established ‘minimum contacts’ in Ohio. By
creating continuing obligations between itself and the Ohio resident Plaintiff, they have
availed themselves of the privilege of doing business here, and it is not unreasonable to
require them to submit to the burdens of litigation in this forum. See Burger King v.
Rudzewicz, 471 U.S. 462, 105 S. Ct. 2174 (1985). The Court further finds that
Defendant cannot use its own breach of the OEM as a shield to prevent a finding of
personal jurisdiction in Ohio. Accordingly, after a thorough review of the pleadings and

the evidence before us, this court finds that Defendant Richmond Main purposefully
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.234 Filed 01/17/25 Page 117 of 140

directed activities toward an Ohio-based partnership so that it could reasonably
anticipate being haled into an Ohio court. The Court further finds that this assertion of
personal jurisdiction over Defendant Richmond comports with fair play and substantial
justice under the Due Process Clause of the Fourteenth Amendment.

Defendant's 12(B)(2) Motion to Dismiss for Lack of Personal Jurisdiction,
converted to a Motion for Summary Judgment so that the Court could consider the
extraneous materials, is DENIED.

Next, Defendant seeks to dismiss the case pursuant to Civ. R. 12(B)(6). A motion
to dismiss for failure to state claim upon which relief can be granted is procedural and
tests the sufficiency of the complaint.” State ex rel. Hanson v. Guernsey Cty. Bd. of
Commrs, (1992), 65 Ohio St.3d 545, 548, 605 N.E.2d 378. “[T]t must appear beyond
doubt from the complaint that the plaintiff can prove no set of facts entitling him to
recovery.” O'Brien v. Univ. Community Tenants Union (1973), 42 Ohio St.20 242, 327
N.E.2d 753, syllabus. In considering a motion to dismiss for failure to state a claim, a
trial court cannot consider matters beyond the pleadings. Civ. R. 12(B). Alder v.
Valentic. 11% Dist. No. 2003-G-2521, 2004 Ohio 5641.

Here, the Plaintiff has filed leave to file an amended complaint, which this Court
has granted. Therefore, the Motion to Dismiss for failure to state a claim is moot.

Defendant's Motion to Dismiss is hereby DENIED.

IT IS SO ORDERED.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.235 Filed 01/17/25 Page 118 of 140

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JUBGE GARY L. YOST, 3
SITTING BY ASSIGNMENT

TO THE CLERK OF COURTS: You Are Ordered to Serve
Copies of this Judgment on all Counsel of Record
or Upon the Parties who are Unrepresented Forthwith
by Electronic Mail { Ordinary Mail.

Loy ij.
C(t f ht

JUDGE GARY L. YOST,
SITTING BY ASSIGNMENT
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.236 Filed 01/17/25 Page 119 of 140

Exhibit 8
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.237 Filed 01/17/25 Page 120 of 140

SETTLEMENT AGREEMENT

This Settlement Agreement (“Agreement”) is executed by and between Frenchtown Square
Partnership (“Frenchtown”), with a principal business office address of 5577 Youngstown- Warren
Road, Niles, Ohio 44446, and Richmond Main, LLC, dba Quality Auto Parts (“Richmond Main”),
with an address 56684 Hartley Dr. West, Shelby Township, Michigan 48236.

Frenchtown entered into an Operation and Easement Agreement (“OEA”) with Dayton
Hudson Corporation (“Target”) on or about August 3, 1994,to set forth each Patty's rights and
responsibilities in developing and operating in certain premises now known as The Mall of Monroe
in Monroe, Michigan. On or about May 12, 2021, Target assigned, transferred, and conveyed title
to its Tract (“Target Tract”) and all of its rights and responsibilities in the OEA to Richmond Main
pursuant to an Assignment and Assumption of Operation and Easement Agreement
(“Assignment”), Frenchtown filed a lawsuit on January 14, 2022 against Richmond Main in the
Trumbull County Court of Common Pleas, in Warren, Ohio, Case No. 2022 CV 00056 (“Lawsuit”)
alleging Richmond Main was in default of the OEA for its a) failure to pay various charges owed
under the OEA, including, amongst others, the Common Area Maintenance Charge (CAM
charge”) and its share of the general liability insurance premium (“Insurance Charge”); and b) its
failure to maintain condition of the premises in accordance with the terms and conditions of the
OEA (“Default”).

Frenchtown and Richmond Main hereby desire to compromise and adjust all claims and
differences between therm as they relate to the Default and the Lawsuit, upon the terms and

conditions set forth herein.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.238 Filed 01/17/25 Page 121 of 140

NOW, THEREFORE, in consideration of the mutual promises and covenants contained in
this Agreement, the parties hereby agree as follows:

1. All representations, statements, and conditions set forth in the preamble hereto are
incorporated into this Agreement as though fully rewritten herein at length.

2. In consideration of its receipt of $138,501.00 (“Settlement Payment”), Frenchtown agrees
to waive all outstanding finance charges incurred under Section 6.2 of the OEA through
November 1, 2022 (“Waived Charges”) and accept the Settlement Payment as payment in
full of all outstanding charges owed under the OEA through December 31, 2022 provided
Richmond Main a) pays the Settlement Payment no later than November 1, 2022 and b)
does not subsequently default under the terms and conditions of this Agreement or the
OEA. Frenchtown acknowledges that it received the Settlement Payment on November
1, 2022.

3. Richmond Main acknowledges and confirms that Frenchtown’s calculation of charges
under the OBA was correct. Commencing January 1, 2023, and thereafter, Richmond Main
shall timely pay all moneys owed under the OEA to Frenchtown including, amongst others,
the CAM Charge and the Insurance Charge.

4, On or before June I, 2023, Richmond Main shall, at its own cost and expense, complete
each of the following repairs:

a) clean by power wash and seal the exterior of the building located on the
Target Tract (former Target store) and its rear screen wall;
b) replace all STOP signs that are missing or faded on the Target Tract, and

Cc) replace missing covers protecting the electrical components on Target Tract
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.239 Filed 01/17/25 Page 122 of 140

parking light poles.

5. On or before October 1, 2023, Richmond Main shall, at its own cost and expense, complete
each of the following:

a) repair the concrete curbs on the islands in front of the Target Tract building;
b) mill down, remove and replace the asphalt in the Target Tract parking areas
and cruise lanes only in areas that require replacement. The parties agree to
meet at the Target Tract after the winter weather has subsided
(approximately March-April 2023)(“Spring Meeting”) for an inspection of
the asphalt to determine which areas of the Tract need mill down and repair,
and which areas need sealing. The parties agree to make all such
determinations in good faith. In the event there is a dispute as to such
determinations, Richmond Main agrees to hire a third party contractor or
engineer selected by Frenchtown, at Richmond Main’s expense, to make a
binding determination in this particular situation so that the asphalt will be
brought in compliance with the terms, covenants and conditions ofthe OEA.
6. For all repairs listed in Paragraph Nos. 4 and 5 above, Richmond Main shall exclusively
use contractors approved in advance by Frenchtown. With regard to milling down,
removing and replacing the Target Tract asphalt, once the upcoming winter weather clears
Frenchtown will review and assess the state of the asphalt, parking areas and cruise lanes,
and provide Richmond Main with the specifications and scope of work that must be
completed in order to cure this repair default. Said specifications and scope of work will

be limited to only the areas that require said replacement as determined by the Parties at
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.240 Filed 01/17/25 Page 123 of 140

the Spring Meeting. With regard to curing all repair defaults, prior to hiring any contractor
Richmond Main shall provide Frenchtown with written notice of the specifications, scope
and cost of the work to be performed by the contractor at least thirty (30) days prior to the
date Richmond Main wishes the work to commence. Richmond Main understands and
agrees that Frenchtown must approve the quality and scope of all work before any contract
is executed and before any work begins.

7. Within seven (7) business days after the mutual execution of this Agreement, Frenchtown
will file a Notice of Voluntary Dismissal Without Prejudice of the Lawsuit.

8. Neither the filing of a Notice of Voluntary Dismissal Without Prejudice to dismiss this
Lawsuit nor the entry of this Agreement shall be construed as a release or waiver of any
claims held by Frenchtown. Should Richmond Main breach or become in default of this
Agreement or the OBA, then Frenchtown reserves the right to pursue the claims and
defaults raised in the Lawsuit, including, but not limited to the Waived Charges, along with
any new claims or defaults. Richmond Main waives any and all objections and defenses
to the refiling of the Lawsuit, including, but not limited to, all matters of personal
jurisdiction, venue, statutes of limitation, res judicata, accord and satisfaction and/or
estoppel should Frenchtown chose to again pursue the claims and defaults raised in the
Lawsuit.

9. Richmond Main hereby releases and forever discharges Frenchtown, its employees, agents,
successors, and assigns, ftom any and all claims, demands, damages, actions, and causes
of action of any kind or nature whatsoever, whether said claims are known or unknown,

contingent, or liquidated, from the beginning of time to the effective date of this
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.241 Filed 01/17/25 Page 124 of 140

Agreement,

10. | Upon Richmond Main’s timely completion of the repairs as set forth and agreed upon in
Paragraphs 4 and 5, Frenchtown hereby releases and forever discharges Richmond Main
and its employees, agents, successors and assigns, from any and all claims, demands,
damages, actions and causes of action of any kind in nature whatsoever, whether said
claims are known or unknown, contingent, or liquidated, from the beginning of time until
the effective date of this Agreement provided Richmond Main is not in default of this
Agreement or the OFA. Nothing in this Agreement releases Richmond Main from any
breaches or defaults it may commit of this Agreement, and subsequent breaches or defaults
it may commit of the OEA after the effective date of this Agreement.

11. Nothing in this Agreement releases Richmond Main from any obligation to hold harmless,
indemnify, and defend Frenchtown and/or its affiliates from and against any and all claims,
demands, actions and causes of action, whether known or unknown, by any third parties
arising out the OEA or obligations which accrued as a result of the OFA.

12. Nothing in this Agreement releases Frenchtown from any obligation to hold harmless,
indemnify, and defend Richmond Main and/or its affiliates from and against any and all
claims, demands, actions and causes of action, whether known or unknown, by any third
parties arising out the OEA or obligations which accrued as a result of the OEA,

13. Richmond Main acknowledges that the payment made in Paragraph 2 herein is less than
the charges it would have paid Frenchtown through December 31, 2022. Richmond Main
agrees that should it commence a proceeding for liquidation, reorganization, or adjustment

of debts in any court pursuant to any statute, either of the United States or any state, or if
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.242 Filed 01/17/25 Page 125 of 140

such a proceeding is commenced against Richmond Main and Frenchtown does not retain
the full amount of the payment identified in Paragraph No. 2 above, as a result thereof, then
the damages of Frenchtown shall be calculated according to the provisions of the OFA
prior to this Agreement, giving no effect to the provisions of this Agreement related to the
settlement payment; in such instance, the portion of this Agreement related to the
settlement payment shall be null and void as if never executed.

14, This Agreement contains the entire agreement between the parties, and the terms hereof
are contractual in nature and not merely a recital.

15. The provisions of this Agreement shall be binding and inure to the benefit of the heirs,
legal representatives, successors, and assigns of the parties hereto. None of the terms,
covenants and conditions of the OEA are modified or amended hereby, and all terms,
covenants and conditions of the OEA shall remain in full force and effect and are hereby
adopted and reaffirmed by the parties hereto.

16. This Agreement shall become effective and binding on the date fully executed by all parties
hereto and until such time, no parties hereto shall have any rights pursuant hereto or
pursuant to any discussions or negotiations between the parties,

IN WITNESS WHEREOE, the parties have executed this Agreement with the intent to be legally

bound.

FRENCHTOWN SQUARE PARTNERSHIP

Won alors wy: bea, wll,

Witness Anthony M. Cafhro Ir, Authofized Agent

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.243 Filed 01/17/25 Page 126 of 140

Witness
STATE OF OHIO )

) SS:
COUNTY OF TRUMBULL J

Personally appeared before me, the undersigned, a Notary Public in and for said County
and State, Anthony M. Cafaro, Jr., known to me to be an Authorized Agent of FRENCHTOWN
SQUARE PARTNERSHIP, the partnership which executed the foregoing document, who
acknowledged that he did sign and seal the foregoing instrument for and on behalf of said
partnership being thereunto authorized; that the same is his free act and deed as such agent and the
free act and deed of said partnership.

IN TESTIMONY WHEREOF, I have hereunto set my hand and official seal at Niles, Ohio,

this 2%, day of aH) day , 2022.
t
os 5 WILLIAM PATRICK GOODWIN i é
of an Notary Public Notary Public
3 [eee Se enaany State of Ohio
TES eS 72 My Comm, Expires

February 13, 2027

RICHMOND MAIN, LLC

By:
Witness Nathir Hermez, President

Witness

STATE OF MICHIGAN )
y SS:
COUNTY OF MACOMB )
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.244 Filed 01/17/25 Page 127 of 140

Personally appeared before me, the undersigned, a Notary Public in and for said County
and State, Nathir Hermez, known to me to be the President of RICHMOND MAIN, LLC, the
limited liability company which executed the foregoing document, who acknowledged that he did
sign and seal the foregoing instrument for and on behalf of said limited liability company being
thereunto authorized by its members; that the same is his free act and deed as such agent and the
free act and deed of said limited liability company.

IN TESTIMONY WHEREOEF, I have hereunto set my hand and official seal at Shelby
Township, Michigan, this day of » 2022.

Notary Public
"Witness:

oe

STATE OF OHIO AT
a . Co 5 8S: |
COUNTY OF TRUMBULL °°.)

"Personally appeared before me, the undersigned, a Notary Public In and for sdid County,
and State, Anthony M. Cafaro, Jr., known to me to be an Authorized Agent of FRENCHT OWN.
SQUARE PARTNERSHIP, the partnership which executed the foregoing document, who
acknowledged -that -he did sign and seal the foregoing instrument for and on behalf of sald L
partnership being thereunto authorized; that the same is his free act and deed as such agent and the |

free act and deed of said partnership.

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4 NOTARY PUBLIC. STATE OF MICHIGAN - . Notaly Public

_ IN TESTIMONY WHEREOF, Ihave hereunto set my hand and official seal at Niles; Obio,
ARMA 22 208 ao

, COUNTY OF MACOMB
My Commission Expleas Aprit 08, 2028
Agting in Ane County of RAR

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" : ’ RICHMOND MAIN, LLC

= By: i ° . + wot . .
—“""NathipBerthez, President...

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| Witness

“ STATE OF MICHIGAN

COUNTY OF MACOMB

Case 2:24-cv-12106-DPH-APP

ECF No. 14-1, PagelD.246 Filed 01/17/25 Page 129 of 140

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Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.247 Filed 01/17/25 Page 130 of 140

Exhibit 9
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.248 Filed 01/17/25 Page 131 of 140

KAREN INFANTE ALLEN
TRUMBULL CO CLERK OF COURTS
2022 CV 00056 CWR
FILED: 01/27/2023 09:48 AM
IN THE COURT OF COMMON PLEAS

TRUMBULL COUNTY, OHIO
FRENCHTOWN SQUARE ) CASE NO: 2022-CV-00056
PARTNERSHIP
)
Plaintiff, ) JUDGE: CYNTHIA RICE
)
)
vs. )
) NOTICE OF DISMISSAL
) WITHOUT PREJUDICE
RICHMOND MAIN, LLC )
dba QUALITY AUTO PARTS )
)
Defendant. )

Plaintiff hereby gives notice to the Court that Plaintiff dismisses, without prejudice, its

Complaint against Defendant, Richmond Main, LLC.

Respectfully submitted,

‘si Leonard D. Hall

Leonard D, Hall (0029539)
Michael J. Wright (0075221)
Attorneys for Plaintiff

$577 Youngstown Warren Road
Niles, Ohio 44446

Phone: (330) 747-2661

Fax: (330) 743-2902
LHall@cafarocompany.com
MWright@cafarocompany.com

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.249 Filed 01/17/25 Page 132 of 140

CERTIFICATE OF SERVICE

A copy of this Notice of Dismissal Without Prejudice has been sent by e-mail and regular
U.S. Mail on this 27" day of January 2023, to Defendant through counsel:

Stephen M. Bales (0003380)

Brian F. Kampman (0092386)
ZIEGLER METZGER LLP

111 Superior Avenue, Suite 1000
Cleveland, Ohio 441 14-2568

E-mail: sbales@zieglermetzger.com

bkampman(@zierlermetzger.com

&

Eric M. Nemeth

Varnum LLP

480 Pierce Street, Suite 300
Birmingham, Michigan 48009

E-mail: emnemeth@vamumlaw.com

Attorneys for Defendant
Richmond Main, LLC dba Quality Auto Parts

/s/ Leonard D. Hall
Leonard D. Hall
Attorney for Plaintiff

Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.250 Filed 01/17/25 Page 133 of 140

Exhibit 10
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.251 Filed 01/17/25 Page 134 of 140

BUSINESS

Aiex Alusheff
Published 11:01 p.m. ET Nov. 3, 2014 | Updated 9:59 p.m. ET Nov, 4, 2074
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.252 Filed 01/17/25 Page 135 of 140
Target at Mall of Monroe will close on Jan. 31.

The Monroe store is one of 11 that Target Corporation will close across the country as of
Feb. 1, according to a press release from Target.

The closures are part of the franchise's strategy to reduce costs after experiencing losses
after hackers stole thousands of customers’ credit card information earlier this year, said
Joe Bell, director of corporate communications for Cafaro Co., the Youngstown, Ohio-
based operator of the Mall of Monroe.

?We?re sorry to hear this and will certainly do what we must to support its operations
until it closes,? Mr. Bell said. ?We have a longstanding relationship with Target and they?
ve been our tenant for quite a while."

Target opened in the mall in 1994 and occupies 96,800 square feet in the mall.

{t's lease at the mall is not close to expiring and Mr. Bell said it was supposed to continue
well after 2015.

However, Target owns the space it occupies, allowing it a little more flexibility when it
comes to operations of the store, Mr. Bell said.

It was originally believed that Target would close on Jan. 1, but it will remain open until
the end of the month to coincide with the end of the Christmas holiday shopping season,
Mr. Bell said.

In the meantime, Mr. Bell said both Cafaro and Target will be looking for tenants to fill the
space.

"We already initiated talks with other retailers and there's always interest in space at the
mall," he said.

National store closings include locations in Michigan, Indiana, Wlinois, Iowa, Georgia,
Kansas, Minnesota and Texas. Other closures in Michigan are in Southfield and Bay City.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.253 Filed 01/17/25 Page 136 of 140

Exhibit 11
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.254 Filed 01/17/25 Page 137 of 140

Your web browser (Safari 15.6) is out of date and unsupported. You may
experience issues when using this site. Please update your browser.

Case ID Court Location
1997-0000006953-CZ 38th Circuit Court - Monroe
Case Entitlement Judge of Record
FRENCHTOWN SQUARE PA V LARRY LAVOY WILLIAM F.,
LOVE
Date Filed Case Status
09/09/1997 CLOSED
Closed Date Balance
02/25/1998
Parties (5)
Party Name Party Type/Number
PROACH TOW SS IABE GAP Pe mes PLAINTIFF - 1
Attorney Name Alternate Name(s}

RICHARD A. ROBLE
Answer Date Service Date

Disposition Disposition Date
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.255 Filed 01/17/25 Page 138 of 140

Exhibit 12
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.256 Filed 01/17/25 Page 139 of 140

SEPTEMBER 4, 2022""*"PROPOSED ORDER TEMPLATE" HAS BEEN UPDATED AND IS
REQUIRED WHEN FILING ELECTRONICALLY PURSUANT TO LOC. R. 71.

&

PILING FOR ALL CHIL (NEW CASES AND SUBSEQUENT PLEADINGS) WILL BE
MANDATORY EFFECTIVE TUESDAY, SEPTEMBER 1, 2026. PRO-SE LITIGANTS ARE TO
CONTACT THE CLERK OF COURTS OFFICE AT (230) 675-2587 FOR FURTHER
INSTRUCTION,

Important Notice about eAccess

The Trumbull County Common Pleas Ceurt’s computer record information disclosed by the system is current
and is believed to be as accurate only with the limitations of the Court data retrieval system. ATI users of this
system agree to hold the Court and its Employees harmless [rom any and all claims, demands, obligations,
action, cause of action, suits, fees, or Habilities, directly or indirectly relating to this service. In no event shall
the Court have liability for lost profits or for indirect, special, punitive or consequential damages or any liability
to any third party, even if the Court is advised of the possibility of such damages. The use of this service to
engage in any activity that constitutes violation of local, state, and/or federal laws is strictly prohibited.

if any person notices ervors or omissions, please contact the Trumbull County Common Pleas Court by
telephone at Phone: (330) 675-2557.

Law enforcement officers are cautioned that any warrant information displayed must be verified by the clerk
in person as to the accuracy before any official action is taken. Matlure to do so may result in adverse
administration or court action. Any misuse of the information obtained from the web site Is the sole
responsibility of the user. Be advised that the use of the information must be in full compliance with all laws.
rules, and regulations of the State of Ohio, The Ohio Supreme Court, The Trumbull County Comnion Pleas
Court, and the United States of America, Any violations will subject the user to criminal. and/or civil
sanctions. By entering this site and conducting a search, you, the user, accept these terms and conditions and
accept all responsibility for any misuse of the information it contains and that may result in the administrating
of mental or physical harm to any person(s).

Compatitibility:

Internet Explorer Version 11 or later
Google Chrome Version 43 or later
Mozilla Firefox Version 32 or later

To search Trumbull County Common Pleas public records.
Note: If you have questions or comments contact Barb, Computer Systems Administrator, at 330-675-3050.
Case 2:24-cv-12106-DPH-APP ECF No. 14-1, PagelD.257 Filed 01/17/25 Page 140 of 140

|Search Results

Name Searchy

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Showing 7 to 11 of 11

Case
Number

2016 CV
01059

2017 CV
00117

2079 OV
903886

2020 CV
01057

2023 CV
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2024 CV
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Gase Type File Date

CV - Civil

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TR - Court

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CV - Civil

06/17/2016

01/20/2017

06/14/2019

09/15/2020

12/17/2020

06/30/2020

11/18/2021

10/41/2023

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